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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:clarkvpeopleofthestateofcoloradono22sc3132024co55july1,2024" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2024 CO 55&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Reginald Keith Clark&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The People of the State of Colorado&lt;/span&gt;. &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 22SC313&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;July 1, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="168" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="168" data-sentence-id="181" class="ldml-sentence"&gt;Certiorari to the &lt;span class="ldml-entity"&gt;Colorado Court of Appeals Court of Appeals&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_181"&gt;&lt;span class="ldml-cite"&gt;Case No. 19CA340&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="259" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="259" data-sentence-id="272" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Megan A. Ring&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Casey Mark Klekas&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="371" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="371" data-sentence-id="384" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Philip J. Weiser&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Patrick A. Withers&lt;/span&gt;, Senior Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="499" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="499" data-sentence-id="512" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;Amici Curiae Colorado Hispanic Bar Association&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;Asian Pacific American Bar Association&lt;/span&gt;, &lt;span class="ldml-entity"&gt;South Asian Bar
 Association of Colorado&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;Sam Cary Bar Association&lt;/span&gt;: Lewis
 Roca Rothgerber Christie LLP &lt;span class="ldml-entity"&gt;Kendra N. Beckwith&lt;/span&gt; &lt;span class="ldml-entity"&gt;Tyler J. Owen&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_756" data-val="2"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="756" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="756" data-sentence-id="769" class="ldml-sentence"&gt;Attorneys for Amici Curiae Colorado-Montana-Wyoming Area
 Conference of the &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;National Association&lt;/span&gt; for the Advancement of
 Colored &lt;span class="ldml-entity"&gt;People&lt;/span&gt; and American Civil Liberties Union of
 Colorado&lt;/span&gt;: &lt;span class="ldml-entity"&gt;Martina Tiku Anna Kathryn&lt;/span&gt; Barnes&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="987" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="987" data-sentence-id="1000" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Timothy R. Macdonald&lt;/span&gt; &lt;span class="ldml-entity"&gt;Anna I. Kurtz&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1035" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="1035" data-sentence-id="1048" class="ldml-sentence"&gt;Attorneys for Amicus Curiae Mountain States Legal Foundation:
 &lt;span class="ldml-entity"&gt;William E. Trachman&lt;/span&gt; &lt;span class="ldml-entity"&gt;James L. Kerwin&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1147" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="1147" data-sentence-id="1160" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;Amici Curiae Office of the Alternate Defense
 &lt;span class="ldml-entity"&gt;Counsel&lt;/span&gt;&lt;/span&gt; and Colorado Criminal Defense Bar: &lt;span class="ldml-entity"&gt;Law Offices of Ann
 M. Roan, LLC&lt;/span&gt; &lt;span class="ldml-entity"&gt;Ann M. Roan&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1308" class="ldml-paragraph "&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="1308" data-sentence-id="1321" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MÁRQUEZ&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, in
 which CHIEF JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HART&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt;,
 and JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BERKENKOTTER&lt;/span&gt;&lt;/span&gt; joined&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="1308" data-sentence-id="1472" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;HOOD&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;joined by
 JUSTICE &lt;span class="ldml-entity"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt;, dissented.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_1525" data-val="3"&gt;&lt;/span&gt;&lt;/p&gt;&lt;h2 class="ldml-opinionheading content__heading content__heading--depth1" data-content-heading-label="Opinion (MÁRQUEZ, BOATRIGHT, HART, SAMOUR, BERKENKOTTER, MÁRQUEZ)"&gt;&lt;span data-paragraph-id="1525" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="1525" data-sentence-id="1538" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;OPINION&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/h2&gt;&lt;p data-paragraph-id="1546" class="ldml-paragraph no-indent mt-4"&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="1546" data-sentence-id="1559" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MÁRQUEZ&lt;/span&gt;&lt;/span&gt;, JUSTICE&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1576" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1576" data-sentence-id="1587" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1587"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Racial discrimination, while detestable in any context, is
 &lt;span class="ldml-quotation quote"&gt;"especially pernicious"&lt;/span&gt; in the criminal justice
 system.&lt;/span&gt; &lt;span data-paragraph-id="1576" data-sentence-id="1708" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892820801" data-vids="892820801" class="ldml-reference" data-prop-ids="sentence_1587"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Rose v. Mitchell&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;443 U.S. 545, 555&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1979&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="1576" data-sentence-id="1752" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[S]&lt;/span&gt;uch discrimination &lt;span class="ldml-quotation quote"&gt;'not only violates our
 &lt;span class="ldml-entity"&gt;Constitution&lt;/span&gt; and the laws enacted under it but is at war with
 our basic concepts of a democratic society and a
 representative government.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="1576" data-sentence-id="1941" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892820801" data-vids="892820801" class="ldml-reference" data-prop-ids="sentence_1752"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 556&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888964154" data-vids="888964154" class="ldml-reference" data-prop-ids="sentence_1752"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Smith v. Texas&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;311 U.S. 128, 130&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1940&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="1576" data-sentence-id="2004" class="ldml-sentence"&gt;Criminal &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; have the right to an impartial jury, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2004"&gt;&lt;span class="ldml-cite"&gt;U.S.
 Const. amend. VI&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2004"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. II, § 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, which
 includes the right to be tried by jurors who can consider &lt;span class="ldml-entity"&gt;the
 case&lt;/span&gt; without the influence of racial animus, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="sentence_2004"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Georgia v.
 McCollum&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;505 U.S. 42, 58&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1576" data-sentence-id="2274" class="ldml-sentence"&gt;The jury, after all,
 is meant to be &lt;span class="ldml-quotation quote"&gt;"a criminal &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s fundamental
 &lt;span class="ldml-quotation quote"&gt;'protection of life and liberty against rac&lt;span class="ldml-parenthetical"&gt;[ial]&lt;/span&gt; . . .
 prejudice.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="1576" data-sentence-id="2417" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2274" data-refglobal="case:peña-rodriguezvcolorado,580us206,235,137sct855,197led2d1072017alito,j,dissenting"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Pena-Rodriguez v. Colorado&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;580 U.S. 206, 223&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2017&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884708631" data-vids="884708631" class="ldml-reference" data-prop-ids="sentence_2274"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;McCleskey v. Kemp&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;481 U.S. 279, 310&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2527" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="2527" data-sentence-id="2538" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2538"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Procedures for preventing biased jurors from serving are
 critical to the protection of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s right to an
 impartial jury.&lt;/span&gt; &lt;span data-paragraph-id="2527" data-sentence-id="2675" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="sentence_2538"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;McCollum&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;505 U.S. at 58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2527" data-sentence-id="2701" class="ldml-sentence"&gt;In
 Colorado, judges must dismiss for cause jurors who
 &lt;span class="ldml-quotation quote"&gt;"evinc&lt;span class="ldml-parenthetical"&gt;[e]&lt;/span&gt; enmity or bias toward &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; or &lt;span class="ldml-entity"&gt;the
 state&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="2527" data-sentence-id="2819" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2701"&gt;&lt;span class="ldml-cite"&gt;§ 16-10-103&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(j)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2527" data-sentence-id="2853" class="ldml-sentence"&gt;Where &lt;span class="ldml-entity"&gt;a
 trial court&lt;/span&gt;'s erroneous denial of a challenge for cause
 results in seating a juror who is biased against &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2853"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right to an

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_3030" data-val="4"&gt;&lt;/span&gt;
 impartial jury is violated, and the conviction must be
 reversed.&lt;/span&gt; &lt;span data-paragraph-id="2527" data-sentence-id="3098" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference" data-prop-ids="sentence_2853"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Abu-Nantambu-El&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2019 CO 106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2853"&gt;&lt;span class="ldml-cite"&gt;¶ 29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;454 P.3d 1044, 1050&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3166" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="3166" data-sentence-id="3177" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3177"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 If, however, a juror evinces racial bias during voir dire but
 does not ultimately serve on the jury, no &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3177"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 violation&lt;/span&gt; has occurred.&lt;/span&gt; &lt;span data-paragraph-id="3166" data-sentence-id="3327" class="ldml-sentence"&gt;These are the circumstances &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are
 presented with today.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3385" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="3385" data-sentence-id="3396" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3396"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Reginald Keith Clark&lt;/span&gt;, a Black man, was charged with multiple
 crimes arising from his alleged sexual assault of A.B., a
 white woman.&lt;/span&gt; &lt;span data-paragraph-id="3385" data-sentence-id="3533" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; faced trial in &lt;span class="ldml-entity"&gt;Gilpin County&lt;/span&gt;, an area that is
 predominantly white.&lt;/span&gt;&lt;span data-paragraph-id="3385" data-sentence-id="3603" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN1" class="ldml-noteanchor" id="note-ref-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; During voir dire, a venire member made
 comments that Clark believed evinced racial bias.&lt;/span&gt; &lt;span data-paragraph-id="3385" data-sentence-id="3696" class="ldml-sentence"&gt;Clark moved
 to strike the juror for cause, but &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; denied the
 challenge, concluding that the juror's statements
 expressed a political view and did not indicate that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could
 not be fair.&lt;/span&gt; &lt;span data-paragraph-id="3385" data-sentence-id="3899" class="ldml-sentence"&gt;Clark later removed the juror using a peremptory
 challenge.&lt;/span&gt; &lt;span data-paragraph-id="3385" data-sentence-id="3960" class="ldml-sentence"&gt;Thus, the juror did not sit on the jury.&lt;/span&gt; &lt;span data-paragraph-id="3385" data-sentence-id="4001" class="ldml-sentence"&gt;Clark was
 convicted and appealed on multiple grounds.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4056" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="4056" data-sentence-id="4067" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4067"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In a divided opinion, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; affirmed
 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_4067"&gt;&lt;span class="ldml-refname"&gt;Clark's conviction. &lt;em class="ldml-emphasis"&gt;People v. Clark&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2022 COA
 33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4067"&gt;&lt;span class="ldml-cite"&gt;¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_4067"&gt;&lt;span class="ldml-cite"&gt;512 P.3d 1074, 1076&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4056" data-sentence-id="4201" class="ldml-sentence"&gt;In its discussion of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the
 trial

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_4235" data-val="5"&gt;&lt;/span&gt;
 court&lt;/span&gt;'s ruling&lt;/span&gt; on the challenge for cause, the
 division's lead opinion focused its analysis on the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4201"&gt;&lt;span class="ldml-cite"&gt;Sixth
 Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4056" data-sentence-id="4355" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_4355"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4355"&gt;&lt;span class="ldml-cite"&gt;¶¶ 22-32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_4355"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at
 1079-80&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4056" data-sentence-id="4394" class="ldml-sentence"&gt;Judge Schutz's partial dissent included a
 discussion of the Equal Protection Clause, particularly
 within the context of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_4394"&gt;&lt;span class="ldml-refname"&gt;Batson v Kentucky&lt;/span&gt;, &lt;span class="ldml-cite"&gt;476 U.S. 79&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 and &lt;span class="ldml-entity"&gt;its progeny&lt;/span&gt; Clark, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4394"&gt;&lt;span class="ldml-cite"&gt;¶¶ 89-102&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_4394"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at
 1089-92&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Schutz, J, concurring in part and dissenting in
 part)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4056" data-sentence-id="4668" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted Clark's &lt;span class="ldml-entity"&gt;petition for certiorari review&lt;/span&gt;
 of two issues.&lt;/span&gt;&lt;span data-paragraph-id="4056" data-sentence-id="4733" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN2" class="ldml-noteanchor" id="note-ref-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4736" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="4736" data-sentence-id="4747" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4747"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 First, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; consider whether &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s denial of
 Clark's for-cause challenge may be analyzed for
 harmlessness or instead constitutes structural error
 requiring reversal.&lt;/span&gt; &lt;span data-paragraph-id="4736" data-sentence-id="4930" class="ldml-sentence"&gt;In light of &lt;span class="ldml-entity"&gt;Supreme Court&lt;/span&gt; and Colorado
 precedent, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that, because any error by &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt; was made in good faith and because the juror never
 actually sat on the jury, Clark's &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4930"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right
 to an impartial jury was not violated.&lt;/span&gt; &lt;span data-paragraph-id="4736" data-sentence-id="5185" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt;'s erroneous denial of the challenge for cause in
 &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; did not result in structural error and automatic
 reversal is not required.&lt;/span&gt; &lt;span data-paragraph-id="4736" data-sentence-id="5351" class="ldml-sentence"&gt;And because no state actor
 purposefully

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_5394" data-val="6"&gt;&lt;/span&gt;
 discriminated against Clark &lt;span class="ldml-parenthetical"&gt;(or anyone else)&lt;/span&gt; on the basis of
 race, no equal protection violation occurred either.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5511" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5511" data-sentence-id="5522" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5522"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Second, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; separately conclude that a juror's comment
 about her previous jury experience recalling a judge's
 alleged statement that the jury must deliberate until it
 reached a unanimous verdict does not constitute
 &lt;span class="ldml-quotation quote"&gt;"extraneous prejudicial information"&lt;/span&gt; under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE
 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5800" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5800" data-sentence-id="5811" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5811"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;
 and uphold Clark's conviction.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_5907" data-value="I.
 Facts and Procedural History" data-types="background" data-confidences="very_high" data-parsed="true" data-ordinal_end="1" data-specifier="I" data-format="upper_case_roman_numeral" data-content-heading-label="
 I.
Facts and Procedural History
" id="heading_5907" data-ordinal_start="1"&gt;&lt;span data-paragraph-id="5907" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="5907" data-sentence-id="5918" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="5907" data-sentence-id="5921" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="5950" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5950" data-sentence-id="5961" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5961"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;November 2017&lt;/span&gt;, Clark approached A.B. in his car as &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was
 walking through downtown Denver to catch a bus.&lt;/span&gt; &lt;span data-paragraph-id="5950" data-sentence-id="6076" class="ldml-sentence"&gt;Clark offered
 A.B. a ride.&lt;/span&gt; &lt;span data-paragraph-id="5950" data-sentence-id="6104" class="ldml-sentence"&gt;A.B., who recognized Clark, accepted.&lt;/span&gt; &lt;span data-paragraph-id="5950" data-sentence-id="6142" class="ldml-sentence"&gt;A.B. asked
 Clark to take her to a nearby location, but Clark instead
 drove into the mountains near Black Hawk.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6255" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6255" data-sentence-id="6266" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6266"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 During the drive, Clark stopped and sexually assaulted A.B.&lt;/span&gt;
&lt;span data-paragraph-id="6255" data-sentence-id="6331" class="ldml-sentence"&gt;Shortly after this, A.B. ran away.&lt;/span&gt; &lt;span data-paragraph-id="6255" data-sentence-id="6366" class="ldml-sentence"&gt;Police officers later
 contacted her on the side of the road.&lt;/span&gt; &lt;span data-paragraph-id="6255" data-sentence-id="6428" class="ldml-sentence"&gt;A.B. told them about
 the assault and described her assailant.&lt;/span&gt; &lt;span data-paragraph-id="6255" data-sentence-id="6491" class="ldml-sentence"&gt;Soon after, the
 officers spotted Clark driving in the vicinity and arrested
 him.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6574" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6574" data-sentence-id="6585" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6585"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Clark was charged in &lt;span class="ldml-entity"&gt;Gilpin County&lt;/span&gt; with second degree
 kidnapping, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6585"&gt;&lt;span class="ldml-cite"&gt;§ 18-3-302&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2023&lt;/span&gt;)&lt;/span&gt;; sexual
 assault with a deadly weapon, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6585"&gt;&lt;span class="ldml-cite"&gt;§ 18-3-402&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;,
 &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(III)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2023&lt;/span&gt;)&lt;/span&gt;; sexual assault caused by threat
 of

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_6815" data-val="7"&gt;&lt;/span&gt;
 imminent harm, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6585"&gt;&lt;span class="ldml-cite"&gt;§ 18-3-402&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; and sexual
 assault achieved through the application of physical force,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6585"&gt;&lt;span class="ldml-cite"&gt;§ 18-3-402&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6574" data-sentence-id="6957" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The case&lt;/span&gt; proceeded to a jury
 trial.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="A" data-value="A.
 Voir Dire" data-parsed="true" data-id="heading_6994" data-ordinal_end="1" data-format="upper_case_letters" data-content-heading-label="
 A.
 Voir Dire
" id="heading_6994" data-ordinal_start="1"&gt;&lt;span data-paragraph-id="6994" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6994" data-sentence-id="7005" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;A.
 Voir Dire&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="7019" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7019" data-sentence-id="7030" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7030"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 During voir dire, defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; raised the issue of race,
 noting that Clark was the only Black individual in the
 courtroom.&lt;/span&gt; &lt;span data-paragraph-id="7019" data-sentence-id="7163" class="ldml-sentence"&gt;One potential juror commented that if &lt;span class="ldml-entity"&gt;she&lt;/span&gt; were in
 Clark's position, &lt;span class="ldml-entity"&gt;she&lt;/span&gt; might doubt the fairness of the
 trial and &lt;span class="ldml-quotation quote"&gt;"would like to see a little more
 diversity"&lt;/span&gt; in the courtroom.&lt;/span&gt; &lt;span data-paragraph-id="7019" data-sentence-id="7342" class="ldml-sentence"&gt;Other potential jurors
 agreed that some &lt;span class="ldml-entity"&gt;people&lt;/span&gt; in &lt;span class="ldml-entity"&gt;Gilpin County&lt;/span&gt; might have
 stereotypes about Black men.&lt;/span&gt; &lt;span data-paragraph-id="7019" data-sentence-id="7448" class="ldml-sentence"&gt;Soon after, the conversation
 moved away from the topic of diversity.&lt;/span&gt; &lt;span data-paragraph-id="7019" data-sentence-id="7518" class="ldml-sentence"&gt;A few minutes later,
 defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; asked Juror K about his thoughts related to
 the presumption of innocence, inquiring whether &lt;span class="ldml-entity"&gt;he&lt;/span&gt; thought
 &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"start&lt;span class="ldml-parenthetical"&gt;[ed]&lt;/span&gt; off . . . with a little bit
 of a lead,"&lt;/span&gt; given that Clark was charged with a crime.&lt;/span&gt;
&lt;span data-paragraph-id="7019" data-sentence-id="7772" class="ldml-sentence"&gt;Juror K responded by returning to the topic of diversity,
 saying:&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_7839" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="7840" class="ldml-sentence"&gt;You've said a lot, and I'm trying to think through
 each thing....&lt;/span&gt; &lt;span data-sentence-id="7907" class="ldml-sentence"&gt;I apologize for some of my thoughts....&lt;/span&gt; &lt;span data-sentence-id="7947" class="ldml-sentence"&gt;The
 diversity and stuff, yes, it's obvious there's a
 &lt;span class="ldml-parenthetical"&gt;[B]&lt;/span&gt;lack gentleman over there.&lt;/span&gt; &lt;span data-sentence-id="8032" class="ldml-sentence"&gt;This is &lt;span class="ldml-entity"&gt;Gilpin County&lt;/span&gt;.&lt;/span&gt; &lt;span data-sentence-id="8055" class="ldml-sentence"&gt;I moved
 to &lt;span class="ldml-entity"&gt;Gilpin County&lt;/span&gt;.&lt;/span&gt; &lt;span data-sentence-id="8082" class="ldml-sentence"&gt;I didn't want diversity.&lt;/span&gt; &lt;span data-sentence-id="8107" class="ldml-sentence"&gt;I want to be
 diverse up on top of a hill.&lt;/span&gt; &lt;span data-sentence-id="8150" class="ldml-sentence"&gt;That's—I hear the
 things, that diversity makes &lt;span class="ldml-entity"&gt;us&lt;/span&gt; stronger and things like
 that.&lt;/span&gt; &lt;span data-sentence-id="8233" class="ldml-sentence"&gt;I don't quite believe it in life from what my
 personal experiences are.&lt;/span&gt; &lt;span data-sentence-id="8306" class="ldml-sentence"&gt;And I can't change that.&lt;/span&gt; &lt;span data-sentence-id="8331" class="ldml-sentence"&gt;I can
 look and judge what is being said by your side and their side
 and be fair, but I can't change that—when I walked
 in here seeing a &lt;span class="ldml-parenthetical"&gt;[B]&lt;/span&gt;lack gentleman here.&lt;/span&gt; &lt;span data-sentence-id="8494" class="ldml-sentence"&gt;And I can't say
 that &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; has a leg up on this or something until I
 hear what's happened.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_8596" data-val="8"&gt;&lt;/span&gt;&lt;/blockquote&gt;&lt;p data-paragraph-id="8596" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8596" data-sentence-id="8607" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8607"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 At a bench conference, Clark challenged Juror K for cause.&lt;/span&gt; &lt;span data-paragraph-id="8596" data-sentence-id="8671" class="ldml-sentence"&gt;As
 Clark later explained,&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN3" class="ldml-noteanchor" id="note-ref-ftn.FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; his basis for the challenge was that Juror
 K's statements about diversity were unprompted and
 reflected &lt;span class="ldml-quotation quote"&gt;"actual bias and prejudice."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="8596" data-sentence-id="8835" class="ldml-sentence"&gt;Following
 this challenge, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; asked Juror K additional questions:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_8908" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="8909" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court&lt;/span&gt;: So here's kind of the two-part bottom line ....&lt;/span&gt; &lt;span data-sentence-id="8964" class="ldml-sentence"&gt;If
 you're chosen as a juror in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, and if you're
 back in the jury room and you think &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;
 hasn't proven its case, would you have any trouble
 finding &lt;span class="ldml-entity"&gt;this defendant&lt;/span&gt; to be not guilty?&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_9168" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="9169" class="ldml-sentence"&gt;Juror K: Not at all.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_9190" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="9191" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court&lt;/span&gt;: And the other side of that coin, what if you're
 back there and you say that &lt;span class="ldml-parenthetical"&gt;[the]&lt;/span&gt; &lt;span class="ldml-entity"&gt;prosecutor&lt;/span&gt; has proven his
 case, would you have any trouble finding &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; to be
 guilty?&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_9378" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="9379" class="ldml-sentence"&gt;Juror K: Again, the same answer.&lt;/span&gt; &lt;span data-sentence-id="9412" class="ldml-sentence"&gt;Not at all.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="9424" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9424" data-sentence-id="9435" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9435"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; denied the challenge, and later provided its
 reasoning that Juror K's statements &lt;span class="ldml-quotation quote"&gt;"that &lt;span class="ldml-entity"&gt;he&lt;/span&gt;
 didn't think that diversity was a good thing"&lt;/span&gt;
 expressed &lt;span class="ldml-quotation quote"&gt;"a political view"&lt;/span&gt; and did not
 &lt;span class="ldml-quotation quote"&gt;"answer the question of whether &lt;span class="ldml-entity"&gt;he&lt;/span&gt; can be a fair
 juror."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9424" data-sentence-id="9688" class="ldml-sentence"&gt;The judge observed that &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"a person can
 certainly have offensive views and still apply the law.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Those
 two things are really separate in my mind."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_9834" data-val="9"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9834" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9834" data-sentence-id="9845" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9845"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 After his challenge for cause was denied, Clark exercised all
 of his allotted peremptory strikes, using his first to remove
 Juror K. Juror K was excused and did not sit on the jury.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="B" data-value="B.
 Statements Made During Jury Deliberations" data-parsed="true" data-id="heading_10034" data-ordinal_end="2" data-format="upper_case_letters" data-content-heading-label="
 B.
Statements Made During Jury Deliberations
" id="heading_10034" data-ordinal_start="2"&gt;&lt;span data-paragraph-id="10034" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="10034" data-sentence-id="10045" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="10034" data-sentence-id="10048" class="ldml-sentence"&gt;Statements Made During Jury Deliberations&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="10090" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10090" data-sentence-id="10101" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10101"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 After deliberating for approximately seventeen hours over
 three days, the jury convicted Clark of second degree
 kidnapping and sexual assault caused by threat of imminent
 harm.&lt;/span&gt; &lt;span data-paragraph-id="10090" data-sentence-id="10286" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; sentenced Clark to eighteen years for the
 kidnapping conviction and a consecutive term of twelve years
 to life for the sexual assault.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="10433" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10433" data-sentence-id="10444" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10444"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Following the verdict, Clark filed a &lt;span class="ldml-entity"&gt;motion for a new trial&lt;/span&gt;
 based on an affidavit from Juror LL.&lt;/span&gt; &lt;span data-paragraph-id="10433" data-sentence-id="10547" class="ldml-sentence"&gt;The affidavit explained
 that the jury was deadlocked for the first two days of
 deliberations.&lt;/span&gt; &lt;span data-paragraph-id="10433" data-sentence-id="10643" class="ldml-sentence"&gt;Juror LL alleged that on the third day of
 deliberations, another juror&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_10715" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="10716" class="ldml-sentence"&gt;mentioned a previous jury &lt;span class="ldml-entity"&gt;they&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[sic]&lt;/span&gt; &lt;span class="ldml-entity"&gt;she&lt;/span&gt; served on, in which
 the jury was told by the judge &lt;span class="ldml-quotation quote"&gt;"I don't want a hung
 jury, and I want you guys to stay as long as you need to
 become unanimous."&lt;/span&gt;&lt;/span&gt; &lt;span data-sentence-id="10908" class="ldml-sentence"&gt;That juror stated that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was told
 in the previous trial by the judge that the jury must
 deliberate until a unanimous verdict was reached....&lt;/span&gt; &lt;span data-sentence-id="11053" class="ldml-sentence"&gt;The
 original juror who referenced her previous jury service,
 presented that information as the factual information about
 the law that the jury was required to reach a unanimous
 verdict.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="11243" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="11243" data-sentence-id="11254" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11254"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Juror LL further alleged that the other juror's statement
 sparked fears among the other jurors about the impact that
 protracted deliberations would have

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_11416" data-val="10"&gt;&lt;/span&gt;
 on their personal and professional lives, and, as a result,
 many jurors—including her—voted guilty to avoid
 those ramifications.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11549" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="11549" data-sentence-id="11560" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11560"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Based on this information, Clark requested a new trial or,
 alternatively, an evidentiary hearing.&lt;/span&gt; &lt;span data-paragraph-id="11549" data-sentence-id="11664" class="ldml-sentence"&gt;As relevant here,
 Clark argued that Juror LL's affidavit was admissible
 under the extraneous prejudicial information exception to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE
 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11549" data-sentence-id="11809" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; disagreed, concluding that the affidavit
 did not allege the introduction of &lt;span class="ldml-quotation quote"&gt;"extraneous
 prejudicial information"&lt;/span&gt; for purposes of meeting the
 exception to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which otherwise prohibits a juror
 from testifying as to any statements made during jury
 deliberations.&lt;/span&gt; &lt;span data-paragraph-id="11549" data-sentence-id="12093" class="ldml-sentence"&gt;Consequently, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; concluded it could not
 consider the statements in the juror's affidavit.&lt;/span&gt; &lt;span data-paragraph-id="11549" data-sentence-id="12191" class="ldml-sentence"&gt;It
 therefore denied Clark's motion.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="C" data-value="C.
 The Court of Appeals' Decision" data-parsed="true" data-id="heading_12228" data-ordinal_end="3" data-format="upper_case_letters" data-content-heading-label="
 C.
The Court of Appeals' Decision
" id="heading_12228" data-ordinal_start="3"&gt;&lt;span data-paragraph-id="12228" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="12228" data-sentence-id="12239" class="ldml-sentence"&gt;C.&lt;/span&gt;
&lt;span data-paragraph-id="12228" data-sentence-id="12242" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The Court of Appeals&lt;/span&gt;' Decision&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="12273" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12273" data-sentence-id="12284" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12284"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Clark appealed his conviction, and in a divided opinion, &lt;span class="ldml-entity"&gt;the
 court of appeals&lt;/span&gt; affirmed.&lt;/span&gt; &lt;span data-paragraph-id="12273" data-sentence-id="12378" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_12284"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Clark&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12284"&gt;&lt;span class="ldml-cite"&gt;¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;512 P.3d
 at 1076&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12409" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12409" data-sentence-id="12420" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12420"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 With respect to the challenge for cause, the division split
 three ways.&lt;/span&gt; &lt;span data-paragraph-id="12409" data-sentence-id="12498" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Judges &lt;span class="ldml-entity"&gt;Fox&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Schutz&lt;/span&gt;&lt;/span&gt; agreed with Clark that &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt; erred when it denied Clark's challenge for
 cause of Juror K. &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12498"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12498"&gt;&lt;span class="ldml-cite"&gt;¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_12498"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at
 1079&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_12498"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12498"&gt;&lt;span class="ldml-cite"&gt;¶ 78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_12498"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1086-87&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Schutz,
 J., concurring in part and dissenting in part)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12409" data-sentence-id="12745" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Dailey&lt;/span&gt;&lt;/span&gt;
 would have given more deference to &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s
 ruling&lt;/span&gt; and thus disagreed that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in &lt;span class="ldml-entity"&gt;this
 case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12409" data-sentence-id="12881" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_12881"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12881"&gt;&lt;span class="ldml-cite"&gt;¶ 62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_12881"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1084&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Dailey,
 J., concurring in the judgment)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_12954" data-val="11"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="12954" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12954" data-sentence-id="12965" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12965"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Regarding the remedy, the lead opinion, authored by Judge
 Fox, concluded that, under &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;this court&lt;/span&gt;'s decision in
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12965" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Novotny&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2014 CO 18&lt;/span&gt;, &lt;span class="ldml-cite"&gt;320 P.3d 1194&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt;'s erroneous denial of Clark's for-cause
 challenge did not amount to structural error.&lt;/span&gt; &lt;span data-paragraph-id="12954" data-sentence-id="13232" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_12965"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Clark&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12965"&gt;&lt;span class="ldml-cite"&gt;¶ 26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1079&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12954" data-sentence-id="13264" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Fox&lt;/span&gt;&lt;/span&gt; disagreed with
 Clark's argument that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s error fell
 within &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13264" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s exception for errors made in
 &lt;span class="ldml-quotation quote"&gt;"other than good faith."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="12954" data-sentence-id="13414" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_13414"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13414"&gt;&lt;span class="ldml-cite"&gt;¶¶ 27-28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_13414"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1080&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12954" data-sentence-id="13450" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Fox&lt;/span&gt;&lt;/span&gt; also rejected
 Clark's argument that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s error forced
 him to use a peremptory challenge to remove Juror K and thus
 deprived him of equal protection of the law.&lt;/span&gt; &lt;span data-paragraph-id="12954" data-sentence-id="13636" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_13636"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13636"&gt;&lt;span class="ldml-cite"&gt;¶¶ 29-32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_13636"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1080&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12954" data-sentence-id="13672" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Fox&lt;/span&gt;&lt;/span&gt; reasoned that
 this argument was foreclosed by &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;this court&lt;/span&gt;'s decision in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_13672"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2019 CO 105&lt;/span&gt;, &lt;span class="ldml-cite"&gt;455 P.3d 332&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="12954" data-sentence-id="13799" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_13672"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Clark&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13672"&gt;&lt;span class="ldml-cite"&gt;¶ 31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1080&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12954" data-sentence-id="13830" class="ldml-sentence"&gt;Accordingly,
 &lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Fox&lt;/span&gt;&lt;/span&gt; concluded that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s error should
 be analyzed for harmlessness and, because Juror K did not
 actually participate in the jury, the error was necessarily
 harmless.&lt;/span&gt; &lt;span data-paragraph-id="12954" data-sentence-id="14031" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_14031"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14031"&gt;&lt;span class="ldml-cite"&gt;¶ 32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_14031"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1080&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12954" data-sentence-id="14062" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Judge
 &lt;span class="ldml-entity"&gt;Dailey&lt;/span&gt; concurred in the judgment&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12954" data-sentence-id="14103" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; agreed that under
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14103" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, any error by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; in denying the
 for-cause challenge did not warrant a new trial.&lt;/span&gt; &lt;span data-paragraph-id="12954" data-sentence-id="14228" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_14228"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14228"&gt;&lt;span class="ldml-cite"&gt;¶ 61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_14228"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1084&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Dailey, J., concurring in the
 judgment)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14302" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14302" data-sentence-id="14313" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14313"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In a &lt;span class="ldml-entity"&gt;partial dissent, Judge &lt;span class="ldml-entity"&gt;Schutz&lt;/span&gt;&lt;/span&gt; agreed with Clark that the
 error was structural and required automatic reversal.&lt;/span&gt;
&lt;span data-paragraph-id="14302" data-sentence-id="14435" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14435"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14435"&gt;&lt;span class="ldml-cite"&gt;¶ 79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_14435"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1087&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Schutz, J.,
 concurring in part and dissenting in part)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14302" data-sentence-id="14523" class="ldml-sentence"&gt;In his view, &lt;span class="ldml-entity"&gt;this
 case presented&lt;/span&gt; an

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_14562" data-val="12"&gt;&lt;/span&gt;
 exception to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14523" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny's&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; outcome-determinative
 analysis.&lt;/span&gt; &lt;span data-paragraph-id="14302" data-sentence-id="14620" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_14620"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14620"&gt;&lt;span class="ldml-cite"&gt;¶¶ 85-86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_14620"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at
 1088&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14656" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14656" data-sentence-id="14667" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14667"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 According to &lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Schutz&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s
 &lt;span class="ldml-quotation quote"&gt;"tolerance"&lt;/span&gt; of Juror K's express racial bias
 amounted to structural error, not because it violated
 Clark's right to an impartial jury, but because it
 violated his right to equal protection.&lt;/span&gt; &lt;span data-paragraph-id="14656" data-sentence-id="14911" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14911"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14911"&gt;&lt;span class="ldml-cite"&gt;¶ 95&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_14911"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1090&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14656" data-sentence-id="14943" class="ldml-sentence"&gt;In reaching this conclusion,
 Judge Schutz drew comparisons to &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt;'s
 opinion in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_14943"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; addressing racial bias in
 the jury selection process through the discriminatory use of
 peremptory challenges:&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_15165" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="15166" class="ldml-sentence"&gt;While the structural error created by &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_15166"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 typically arises through the exercise of a peremptory
 challenge, the equal protection violation is even more
 pronounced in the context of &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;'s failure to
 grant a challenge for cause against a juror who has confirmed
 his racial bias against &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-sentence-id="15480" class="ldml-sentence"&gt;In such situations,
 racial bias in the jury selection process need not be
 assumed, it has been openly acknowledged to &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the
 parties&lt;/span&gt;, and the public.&lt;/span&gt; &lt;span data-sentence-id="15641" class="ldml-sentence"&gt;If the injection of assumed bias
 into the jury selection process through the exercise of a
 peremptory challenge creates structural error, then surely
 &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s tolerance of a prospective juror's
 express racial bias after that bias has been brought to &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt;'s attention through a challenge for cause also
 constitutes structural error.&lt;/span&gt;
&lt;/blockquote&gt;&lt;p data-paragraph-id="15993" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="15993" data-sentence-id="15994" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_15994"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15994"&gt;&lt;span class="ldml-cite"&gt;¶ 95&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_15994"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1090&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16025" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="16025" data-sentence-id="16036" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16036"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Schutz&lt;/span&gt;&lt;/span&gt; further reasoned that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_16036"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; was
 designed to serve multiple ends, including circumstances like
 this where, as &lt;span class="ldml-entity"&gt;he&lt;/span&gt; saw it, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s error sent a
 message that racial bias may be tolerated in the criminal
 justice system.&lt;/span&gt; &lt;span data-paragraph-id="16025" data-sentence-id="16283" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_16283"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16283"&gt;&lt;span class="ldml-cite"&gt;¶¶ 96&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, 98, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_16283"&gt;&lt;span class="ldml-cite"&gt;512 P.3d
 at 1090-91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16025" data-sentence-id="16323" class="ldml-sentence"&gt;Whereas Judge Fox's opinion evaluated the
 challenge-for-cause error through a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16323"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; lens,
 Judge Schutz viewed

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_16447" data-val="13"&gt;&lt;/span&gt;
 the issue as implicating &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16323"&gt;&lt;span class="ldml-cite"&gt;Fourteenth
 Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right to equal protection because the juror's
 bias against &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was based on race.&lt;/span&gt; &lt;span data-paragraph-id="16025" data-sentence-id="16603" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_16603"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16603"&gt;&lt;span class="ldml-cite"&gt;¶¶ 100-02&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_16603"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1091-92&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16025" data-sentence-id="16643" class="ldml-sentence"&gt;In other words,
 &lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Schutz&lt;/span&gt;&lt;/span&gt; equated &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_16643"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson's&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; reference to
 &lt;span class="ldml-quotation quote"&gt;"racial bias in the jury selection process"&lt;/span&gt; with a
 potential juror's expression of racial bias against &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt; during voir dire.&lt;/span&gt; &lt;span data-paragraph-id="16025" data-sentence-id="16841" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_16643"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶¶
 95-102&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1090-92&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16885" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="16885" data-sentence-id="16896" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16896"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As for Juror LL's affidavit, the majority decided that
 &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; correctly determined that the statements it
 contained did not constitute extraneous prejudicial
 information and therefore did not meet the exception to CRE
 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;.&lt;/span&gt;&lt;span data-paragraph-id="16885" data-sentence-id="17139" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN4" class="ldml-noteanchor" id="note-ref-ftn.FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17139"&gt;&lt;span class="ldml-cite"&gt;¶ 59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_17139"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1084&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(majority opinion)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16885" data-sentence-id="17191" class="ldml-sentence"&gt;Relying on &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886962296" data-vids="886962296" class="ldml-reference" data-prop-ids="sentence_17191"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Newman&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;2020 COA 108&lt;/span&gt;, &lt;span class="ldml-cite"&gt;471 P.3d 1243&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the division majority concluded
 that &lt;span class="ldml-quotation quote"&gt;"extraneous prejudicial information"&lt;/span&gt; consists
 of &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; legal content and specific factual information &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;
 learned from outside the record &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; that is relevant to the
 issues in &lt;span class="ldml-entity"&gt;a case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16885" data-sentence-id="17473" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_17191"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Clark&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17191"&gt;&lt;span class="ldml-cite"&gt;¶ 52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at
 1083&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16885" data-sentence-id="17505" class="ldml-sentence"&gt;The majority declined to construe the phrase
 &lt;span class="ldml-quotation quote"&gt;"relevant to the issues in &lt;span class="ldml-entity"&gt;a case&lt;/span&gt;"&lt;/span&gt; so broadly as to
 include a general statement about how juries handle
 protracted deliberations.&lt;/span&gt; &lt;span data-paragraph-id="16885" data-sentence-id="17683" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_17683"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17683"&gt;&lt;span class="ldml-cite"&gt;¶ 58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_17683"&gt;&lt;span class="ldml-cite"&gt;512 P.3d
 at 1084&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16885" data-sentence-id="17715" class="ldml-sentence"&gt;Such a

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_17724" data-val="14"&gt;&lt;/span&gt;
 broad construction, the majority reasoned, would be
 inconsistent with the purposes of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and Colorado
 precedent.&lt;/span&gt; &lt;span data-paragraph-id="16885" data-sentence-id="17849" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17715"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17853" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17853" data-sentence-id="17864" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17864"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted Clark's &lt;span class="ldml-entity"&gt;petition for certiorari review&lt;/span&gt; on
 these two issues and now address them in turn.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_17969" data-value="II.
 Analysis" data-types="analysis" data-confidences="very_high" data-parsed="true" data-ordinal_end="2" data-specifier="II" data-format="upper_case_roman_numeral" data-content-heading-label="
 II.
Analysis
" id="heading_17969" data-ordinal_start="2"&gt;&lt;span data-paragraph-id="17969" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="17969" data-sentence-id="17980" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="17969" data-sentence-id="17984" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="17993" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17993" data-sentence-id="18004" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18004"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; first address Clark's argument that &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt;'s denial of his for-cause challenge to Juror K
 amounted to structural error and required automatic reversal.&lt;/span&gt;
&lt;span data-paragraph-id="17993" data-sentence-id="18174" class="ldml-sentence"&gt;Applying our precedent, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that any error by &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt; was made in good faith, and because Juror K did
 not actually serve on the jury, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s error was
 harmless.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18359" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="18359" data-sentence-id="18370" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18370"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; then turn to the second issue before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;—whether the
 statements in Juror LL's affidavit constitute
 &lt;span class="ldml-quotation quote"&gt;"extraneous prejudicial information"&lt;/span&gt; for purposes
 of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18359" data-sentence-id="18543" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that the juror's comment
 recounting a judge's statement about jury deliberations
 during a past jury experience was not legal content relevant
 to Clark's case.&lt;/span&gt; &lt;span data-paragraph-id="18359" data-sentence-id="18717" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that the
 information was not extraneous prejudicial information for
 purposes of the exception to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18717"&gt;&lt;span class="ldml-cite"&gt;Rule 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_18850" data-val="15"&gt;&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="A" data-value="A.
 The Erroneous Denial of a For-Cause Challenge to a Biased
 Juror Is Harmless When It Is Cured Through the Use of a
 Peremptory Strike" data-parsed="true" data-id="heading_18850" data-ordinal_end="1" data-format="upper_case_letters" data-content-heading-label="
 A.
The Erroneous Denial of a For-Cause Challenge to a Biased
 Juror Is Harmless When It Is Cured Through the Use of a
 Peremptory Strike
" id="heading_18850" data-ordinal_start="1"&gt;&lt;span data-paragraph-id="18850" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="18850" data-sentence-id="18861" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="18850" data-sentence-id="18864" class="ldml-sentence"&gt;The Erroneous Denial of a For-Cause Challenge to a Biased
 Juror Is Harmless When It Is Cured Through the Use of a
 Peremptory Strike&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="18998" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="18998" data-sentence-id="19009" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19009"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The division determined that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s denial of
 Clark's for-cause challenge to Juror K was an abuse of
 discretion.&lt;/span&gt; &lt;span data-paragraph-id="18998" data-sentence-id="19140" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_19009"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Clark&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19009"&gt;&lt;span class="ldml-cite"&gt;¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1079&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18998" data-sentence-id="19171" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The
 People&lt;/span&gt; do not challenge this ruling.&lt;/span&gt; &lt;span data-paragraph-id="18998" data-sentence-id="19213" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; therefore assume for
 the purpose of our analysis that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred when
 it denied the challenge for cause to Juror K.&lt;/span&gt; &lt;span data-paragraph-id="18998" data-sentence-id="19345" class="ldml-sentence"&gt;The question is
 whether this error is structural and requires automatic
 reversal or instead is subject to harmless-error analysis.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19478" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19478" data-sentence-id="19489" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19489"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Clark's primary argument, mirroring Judge Schutz's
 partial dissent, is that our &lt;span class="ldml-entity"&gt;decisions in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19489" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_19489"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; do not apply because &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s
 erroneous denial of his for-cause challenge to Juror K
 implicated his rights to equal protection under the
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19489"&gt;&lt;span class="ldml-cite"&gt;Fourteenth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19478" data-sentence-id="19778" class="ldml-sentence"&gt;Alternatively, Clark argues that &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt;'s error falls outside the general &lt;span class="ldml-entity"&gt;rule in
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19778" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_19778"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19890" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19890" data-sentence-id="19901" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19901"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin with a discussion of the applicable standard of
 review.&lt;/span&gt; &lt;span data-paragraph-id="19890" data-sentence-id="19971" class="ldml-sentence"&gt;Next, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review the distinction between structural
 error requiring automatic reversal and trial error that is
 analyzed for harmlessness.&lt;/span&gt; &lt;span data-paragraph-id="19890" data-sentence-id="20110" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; then describe &lt;span class="ldml-entity"&gt;Supreme Court&lt;/span&gt; and
 Colorado precedent, including &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20110" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_20110"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, regarding the standard of reversal that
 applies to errors impacting the use of peremptory challenges.&lt;/span&gt;
&lt;span data-paragraph-id="19890" data-sentence-id="20299" class="ldml-sentence"&gt;Consistent with that precedent, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt;'s error is subject to harmless-error analysis.&lt;/span&gt; &lt;span data-paragraph-id="19890" data-sentence-id="20412" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;
 also reject Clark's argument that the error

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_20462" data-val="16"&gt;&lt;/span&gt;
 amounted to a violation of his equal protection rights.&lt;/span&gt;
&lt;span data-paragraph-id="19890" data-sentence-id="20520" class="ldml-sentence"&gt;Accordingly, applying the harmless-error standard of
 reversal, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; determine that any error by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; was
 harmless and does not warrant reversal.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-id="heading_20676" data-value="1.
 Standard of Review" data-types="standardofreview" data-confidences="very_high" data-parsed="true" data-ordinal_end="1" data-specifier="1" data-format="number" data-content-heading-label="
 1.
Standard of Review
" id="heading_20676" data-ordinal_start="1"&gt;&lt;span data-paragraph-id="20676" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="20676" data-sentence-id="20687" class="ldml-sentence"&gt;1.&lt;/span&gt;
&lt;span data-paragraph-id="20676" data-sentence-id="20690" class="ldml-sentence"&gt;Standard of Review&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="20709" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="20709" data-sentence-id="20720" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20720"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The determination of the proper standard of reversal to be
 applied in &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; is a question of law that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review de
 novo.&lt;/span&gt; &lt;span data-paragraph-id="20709" data-sentence-id="20849" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895709746" data-vids="895709746" class="ldml-reference" data-prop-ids="sentence_20720"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;A.R. v. D.R.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2020 CO 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20720"&gt;&lt;span class="ldml-cite"&gt;¶ 37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895709746" data-vids="895709746" class="ldml-reference" data-prop-ids="embeddedsentence_20907"&gt;&lt;span class="ldml-cite"&gt;456
 P.3d 1266, 1276&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;identifying de novo review as the proper
 standard of review for the determination of the proper legal
 standard to apply&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Abu-Nantambu-El&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference" data-prop-ids="embeddedsentence_21073"&gt;&lt;span class="ldml-cite"&gt;454
 P.3d at 1050&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;reviewing de novo which standard of reversal
 applies when &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; erroneously denies a challenge for
 cause and the juror ultimately serves on the jury&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-specifier="2" data-value="2.
 Structural Errors and the Sixth Amendment" data-parsed="true" data-id="heading_21234" data-ordinal_end="2" data-format="number" data-content-heading-label="
 2.
Structural Errors and the Sixth Amendment
" id="heading_21234" data-ordinal_start="2"&gt;&lt;span data-paragraph-id="21234" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="21234" data-sentence-id="21245" class="ldml-sentence"&gt;2.&lt;/span&gt;
&lt;span data-paragraph-id="21234" data-sentence-id="21248" class="ldml-sentence"&gt;Structural Errors and the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21248"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="21290" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="21290" data-sentence-id="21301" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21301"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"Certain constitutional rights are so basic to a fair
 trial that their violation can never be harmless."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="21290" data-sentence-id="21411" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference" data-prop-ids="sentence_21301"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Abu-Nantambu-El&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21301"&gt;&lt;span class="ldml-cite"&gt;¶ 27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;454 P.3d at 1050&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/884671537" data-vids="884671537" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Gray v. Mississippi&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;481 U.S. 648, 668&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21290" data-sentence-id="21507" class="ldml-sentence"&gt;Such
 errors have been deemed &lt;span class="ldml-quotation quote"&gt;"structural errors"&lt;/span&gt; because
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are not &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-quotation quote"&gt;'simply an error in the trial process
 itself,'&lt;/span&gt;"&lt;/span&gt; but rather &lt;span class="ldml-quotation quote"&gt;"affect the &lt;span class="ldml-quotation quote"&gt;'framework
 within which the trial proceeds'&lt;/span&gt;"&lt;/span&gt;—that is, the
 very &lt;em class="ldml-emphasis"&gt;structure&lt;/em&gt; of the trial itself.&lt;/span&gt; &lt;span data-paragraph-id="21290" data-sentence-id="21748" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886264031" data-vids="886264031" class="ldml-reference" data-prop-ids="sentence_21507"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Fry&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;92 P.3d 970, 980&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890751806" data-vids="890751806" class="ldml-reference" data-prop-ids="sentence_21507"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Blecha
 v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;962 P.2d 931, 942&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1998&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21290" data-sentence-id="21855" class="ldml-sentence"&gt;Whereas
 ordinary errors in the trial process

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_21903" data-val="17"&gt;&lt;/span&gt;
 may be deemed harmless, structural errors are incompatible
 with harmless error analysis.&lt;/span&gt; &lt;span data-paragraph-id="21290" data-sentence-id="21995" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886264031" data-vids="886264031" class="ldml-reference" data-prop-ids="sentence_21855"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="21999" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="21999" data-sentence-id="22010" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22010"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have held that when &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;'s error results in
 the seating of a juror who is biased against &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;,
 the error is structural.&lt;/span&gt; &lt;span data-paragraph-id="21999" data-sentence-id="22157" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference" data-prop-ids="sentence_22010"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Abu-Nantambu-El&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22010"&gt;&lt;span class="ldml-cite"&gt;¶ 30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference" data-prop-ids="embeddedsentence_22199"&gt;&lt;span class="ldml-cite"&gt;454 P.3d at 1050&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;first citing &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893108760" data-vids="893108760" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;United States v.
 Martinez-Salazar&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;528 U.S. 304, 316&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2000&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; then citing
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886236692" data-vids="886236692" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Ross v. Oklahoma&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;487 U.S. 81, 85&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; and then
 citing &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887941915" data-vids="887941915" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Morrison v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;19 P.3d 668, 670&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;2000&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21999" data-sentence-id="22398" class="ldml-sentence"&gt;Such an error violates &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s right to
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt; fair and impartial jury&lt;span class="ldml-parenthetical"&gt;[, which]&lt;/span&gt; is a key element
 of &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s constitutional right to a fair trial
 under both the United States and Colorado
 Constitutions."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="21999" data-sentence-id="22617" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference" data-prop-ids="sentence_22617"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22617"&gt;&lt;span class="ldml-cite"&gt;¶ 14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference" data-prop-ids="sentence_22617"&gt;&lt;span class="ldml-cite"&gt;454 P.3d at
 1047&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;(first citing &lt;/span&gt;&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;U.S. Const. amends. V&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-embeddedsentence"&gt;, VI, XIV; then
 citing &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_22683"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. II, §§ 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_22683"&gt;&lt;span class="ldml-cite"&gt;25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; then citing
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="embeddedsentence_22683"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_22683"&gt;&lt;span class="ldml-cite"&gt;¶ 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="embeddedsentence_22683"&gt;&lt;span class="ldml-cite"&gt;455 P.3d at 334&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; and then citing
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886936301" data-vids="886936301" class="ldml-reference" data-prop-ids="embeddedsentence_22683"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Russo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;713 P.2d 356, 360&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22849" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="22849" data-sentence-id="22860" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22860"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Both for-cause and peremptory challenges serve as means of
 securing this right.&lt;/span&gt; &lt;span data-paragraph-id="22849" data-sentence-id="22946" class="ldml-sentence"&gt;First, Colorado law requires &lt;span class="ldml-entity"&gt;a court&lt;/span&gt;,
 upon &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;'s challenge, to remove a juror for cause
 when particular circumstances implicate the juror's
 ability to remain impartial.&lt;/span&gt; &lt;span data-paragraph-id="22849" data-sentence-id="23122" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23122"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23122"&gt;&lt;span class="ldml-cite"&gt;¶ 15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference" data-prop-ids="sentence_23122"&gt;&lt;span class="ldml-cite"&gt;454
 P.3d at 1048&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22849" data-sentence-id="23154" class="ldml-sentence"&gt;Relevant here, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23154"&gt;&lt;span class="ldml-cite"&gt;section 16-10-103&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(j)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; requires
 &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; to excuse a juror who &lt;span class="ldml-quotation quote"&gt;"evinc&lt;span class="ldml-parenthetical"&gt;[es]&lt;/span&gt; enmity or
 bias toward &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; or &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22849" data-sentence-id="23302" class="ldml-sentence"&gt;Second, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23302"&gt;&lt;span class="ldml-cite"&gt;section
 16-10-104&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2023&lt;/span&gt;)&lt;/span&gt;, permits both &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; to exercise
 peremptory challenges, which allow the removal of
 &lt;span class="ldml-quotation quote"&gt;"jurors whom &lt;span class="ldml-entity"&gt;they&lt;/span&gt; perceive as biased."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="22849" data-sentence-id="23469" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference" data-prop-ids="sentence_23302"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Abu-Nantambu-El&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23302"&gt;&lt;span class="ldml-cite"&gt;¶ 18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;454 P.3d at 1048&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_23509" data-val="18"&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;455 P.3d at 337&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="22849" data-sentence-id="23550" class="ldml-sentence"&gt;The
 number of peremptory challenges available depends on &lt;span class="ldml-entity"&gt;the
 circumstances of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;&lt;/span&gt; and the nature of the charge.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23669" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="23669" data-sentence-id="23680" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23680"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Prior to &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23680" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_23680"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, Colorado
 precedent required automatic reversal when &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; used a
 peremptory strike to remove a prospective juror who should
 have been removed for cause and &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; otherwise
 exhausted their peremptory challenges.&lt;/span&gt; &lt;span data-paragraph-id="23669" data-sentence-id="23942" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886939920" data-vids="886939920" class="ldml-reference" data-prop-ids="sentence_23680"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Macrander&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;828 P.2d 234, 243&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-cert"&gt;overruled
 by&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23680" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;Novotny&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23680"&gt;&lt;span class="ldml-cite"&gt;¶ 27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-cite"&gt;320 P.3d at 1203&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23669" data-sentence-id="24043" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; changed
 course in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24043" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_24043"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; in recognition
 of jurisprudential developments in the understanding of trial
 error and structural error that followed our &lt;span class="ldml-entity"&gt;decision in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886939920" data-vids="886939920" class="ldml-reference" data-prop-ids="sentence_24043"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Macrander&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23669" data-sentence-id="24231" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;See Novotny&lt;/em&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24231"&gt;&lt;span class="ldml-cite"&gt;¶ 27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24231" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-cite"&gt;320 P.3d
 at 1203&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding &lt;span class="ldml-quotation quote"&gt;"that allowing &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; fewer
 peremptory challenges than authorized, or than available to
 and exercised by &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;, does not, in and of itself,
 amount to structural error"&lt;/span&gt; and overruling prior
 holdings to the contrary&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_24231"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24231"&gt;&lt;span class="ldml-cite"&gt;¶ 22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_24231"&gt;&lt;span class="ldml-cite"&gt;455
 P.3d at 338&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"For virtually the same reasons &lt;span class="ldml-entity"&gt;we&lt;/span&gt; found it
 important and justified in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_24546" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to partially
 overturn this line of our own prior holdings, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; consider it
 similarly justified to now overturn them in full.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;To the
 extent that our prior rationale was based on pre-harmless
 error holdings, the constitutional significance of peremptory
 challenges, and even federal due process implications of
 violating state peremptory challenge law, those premises have
 now all been independently swept away by developments in the

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_25066" data-val="19"&gt;&lt;/span&gt;
 jurisprudence of &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have either
 already adopted or by which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are constitutionally
 bound."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25188" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25188" data-sentence-id="25199" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25199"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25199" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; also relied on &lt;span class="ldml-entity"&gt;Supreme Court&lt;/span&gt; &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;
 recognizing that peremptory strikes are rooted in state law,
 not the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25199"&gt;&lt;span class="ldml-cite"&gt;federal constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25188" data-sentence-id="25342" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶¶ 14-17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25199" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-cite"&gt;320 P.3d at
 1199-1200&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing, &lt;em class="ldml-emphasis"&gt;inter alia&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887473648" data-vids="887473648" class="ldml-reference" data-prop-ids="sentence_25199"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Rivera v.
 Illinois&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;556 U.S. 148, 157&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2009&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; that
 &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;United States Supreme Court&lt;/span&gt; has now expressly
 rejected the understanding &lt;span class="ldml-entity"&gt;we&lt;/span&gt;, and a substantial number of
 other jurisdictions, had of the federal due process
 implications of"&lt;/span&gt; a &lt;span class="ldml-entity"&gt;state court&lt;/span&gt; depriving &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; of
 a statelaw granted peremptory challenge)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt;
&lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893108760" data-vids="893108760" class="ldml-reference" data-prop-ids="embeddedsentence_25769,sentence_25199"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Martinez-Salazar&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;528 U.S. at 311&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[U]&lt;/span&gt;nlike the
 right to an impartial jury guaranteed by the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25199"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 peremptory challenges are not of federal constitutional
 dimension."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25188" data-sentence-id="25918" class="ldml-sentence"&gt;Our &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_25918"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; likewise
 emphasized that &lt;span class="ldml-quotation quote"&gt;"neither &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; nor &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt; is granted any right in this jurisdiction, by
 &lt;span class="ldml-entity"&gt;constitution&lt;/span&gt;, &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, or rule, to shape the composition of
 the jury through the use of peremptory challenges,"&lt;/span&gt; thus
 a &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; could not &lt;span class="ldml-parenthetical"&gt;[be]&lt;/span&gt; harmed by the deprivation of
 any such right."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="25188" data-sentence-id="26251" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_25918"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25918"&gt;&lt;span class="ldml-cite"&gt;¶ 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;455 P.3d at
 339&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="26282" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="26282" data-sentence-id="26293" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26293"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Accordingly, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_26293"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; rejected the notion that &lt;span class="ldml-entity"&gt;a
 defendant&lt;/span&gt; who uses a peremptory strike to remove a juror for
 whom &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erroneously denied a for-cause challenge
 was effectively &lt;span class="ldml-quotation quote"&gt;"forced"&lt;/span&gt; to use their peremptory
 strike.&lt;/span&gt; &lt;span data-paragraph-id="26282" data-sentence-id="26528" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_26293"&gt;&lt;span class="ldml-cite"&gt;455 P.3d at 337-38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893108760" data-vids="893108760" class="ldml-reference" data-prop-ids="sentence_26293"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Martinez-Salazar&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;528 U.S. at 314-15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_26600" data-val="20"&gt;&lt;/span&gt;
&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886236692" data-vids="886236692" class="ldml-reference" data-prop-ids="embeddedsentence_26635,sentence_26293"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Ross&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;487 U.S. at 90-91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"As required
 by &lt;span class="ldml-parenthetical"&gt;[state]&lt;/span&gt; law, &lt;span class="ldml-entity"&gt;petitioner&lt;/span&gt; exercised one of his peremptory
 challenges to rectify &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s error, and
 consequently &lt;span class="ldml-entity"&gt;he&lt;/span&gt; retained only eight peremptory challenges to
 use in his unfettered discretion.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;But &lt;span class="ldml-entity"&gt;he&lt;/span&gt; received all that
 &lt;span class="ldml-parenthetical"&gt;[state]&lt;/span&gt; law allowed him, and therefore his due process
 challenge fails."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="26959" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="26959" data-sentence-id="26970" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26970"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Our &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26970" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; acknowledged that, aside
 from &lt;span class="ldml-quotation quote"&gt;"an actual &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26970"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violation&lt;/span&gt;,"&lt;/span&gt; there
 may be some circumstances in which an erroneous denial of a
 for-cause challenge does rise to the level of structural
 error, requiring automatic reversal.&lt;/span&gt; &lt;span data-paragraph-id="26959" data-sentence-id="27232" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27232"&gt;&lt;span class="ldml-cite"&gt;¶¶ 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, 27, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27232" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-cite"&gt;320
 P.3d at 1202-03&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26959" data-sentence-id="27265" class="ldml-sentence"&gt;Citing &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893108760" data-vids="893108760" class="ldml-reference" data-prop-ids="sentence_27265"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Martinez-Salazar&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 acknowledged that such reversible errors include violations
 of state law &lt;span class="ldml-quotation quote"&gt;"committed in other than good faith."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="26959" data-sentence-id="27413" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27413" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27413"&gt;&lt;span class="ldml-cite"&gt;¶ 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27413" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-cite"&gt;320 P.3d at 1202&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893108760" data-vids="893108760" class="ldml-reference" data-prop-ids="sentence_27413"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Martinez-Salazar&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;528 U.S. at 316-17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26959" data-sentence-id="27490" class="ldml-sentence"&gt;In
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893108760" data-vids="893108760" class="ldml-reference" data-prop-ids="sentence_27490"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Martinez-Salazar&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; held &lt;span class="ldml-quotation quote"&gt;"that
 &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s exercise of peremptory challenges . . . is
 not denied or impaired when &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; chooses to use a
 peremptory challenge to remove a juror who should have been
 excused for cause."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26959" data-sentence-id="27741" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893108760" data-vids="893108760" class="ldml-reference" data-prop-ids="sentence_27490"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Martinez-Salazar&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;528 U.S.
 at 317&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="26959" data-sentence-id="27777" class="ldml-sentence"&gt;But in so doing, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; noted that &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; before
 it did not involve any assertion that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"deliberately misapplied the law in order to force &lt;span class="ldml-entity"&gt;the
 defendants&lt;/span&gt; to use a peremptory challenge to correct &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt;'s error."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26959" data-sentence-id="28015" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893108760" data-vids="893108760" class="ldml-reference" data-prop-ids="sentence_27777"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 316&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citation
 omitted&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886236692" data-vids="886236692" class="ldml-reference" data-prop-ids="sentence_27777"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Ross&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;487 U.S. at 91 n.5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_28081" data-val="21"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="28081" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="28081" data-sentence-id="28092" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28092"&gt;&lt;span class="ldml-cite"&gt;¶41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28092" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; thus contemplated two ways an erroneous
 denial of a for-cause challenge might rise to the level of
 structural error: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; where the error resulted in &lt;span class="ldml-entity"&gt;a &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28092"&gt;&lt;span class="ldml-cite"&gt;Sixth
 Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violation&lt;/span&gt; because the biased juror actually served
 on the jury, and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; where the error involved a deliberate
 misapplication of the law intended to disadvantage &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="28453" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="28453" data-sentence-id="28464" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28464"&gt;&lt;span class="ldml-cite"&gt;¶42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The law in Colorado following &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28464" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_28464"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; is clear: when &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; uses a peremptory
 challenge to correct &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;'s erroneous denial of
 a challenge for cause, &lt;span class="ldml-quotation quote"&gt;"so long as &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;
 receives both an impartial jury and the number of peremptory
 challenges specified by state &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s
 constitutional rights remain unaffected."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="28453" data-sentence-id="28832" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference" data-prop-ids="sentence_28464"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Abu-Nantambu-El&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28464"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;454 P.3d at 1049&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;Novotny&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶¶ 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, 27, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-cite"&gt;320 P.3d at
 1202-03&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28453" data-sentence-id="28924" class="ldml-sentence"&gt;Absent bad faith, any such error that does not
 result in the biased juror actually participating on the jury
 is necessarily harmless.&lt;/span&gt; &lt;span data-paragraph-id="28453" data-sentence-id="29060" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference" data-prop-ids="sentence_28924"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Abu-Nantambu-El&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28924"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;454 P.3d at 1049&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29102" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="29102" data-sentence-id="29113" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29113"&gt;&lt;span class="ldml-cite"&gt;¶43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Here, Clark was permitted to use his statutorily allotted
 number of peremptory challenges.&lt;/span&gt; &lt;span data-paragraph-id="29102" data-sentence-id="29210" class="ldml-sentence"&gt;Juror K did not serve on the
 jury for Clark's trial, and Clark does not allege that
 any biased juror otherwise evaded removal.&lt;/span&gt; &lt;span data-paragraph-id="29102" data-sentence-id="29339" class="ldml-sentence"&gt;Under
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29339" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_29339"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, any error by &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt; in denying the challenge for cause to Juror K was
 harmless.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29456" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="29456" data-sentence-id="29467" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29467"&gt;&lt;span class="ldml-cite"&gt;¶44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Clark nevertheless argues that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s error
 deprived him of a peremptory challenge because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was forced
 to use one to cure &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_29629" data-val="22"&gt;&lt;/span&gt;
 error.&lt;/span&gt; &lt;span data-paragraph-id="29456" data-sentence-id="29638" class="ldml-sentence"&gt;But as &lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Fox&lt;/span&gt;&lt;/span&gt; noted below, this argument is
 foreclosed by our &lt;span class="ldml-entity"&gt;reasoning in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_29638"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the Supreme
 Court&lt;/span&gt;'s decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893108760" data-vids="893108760" class="ldml-reference" data-prop-ids="sentence_29638"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Martinez-Salazar&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, which
 expressly rejected this argument.&lt;/span&gt; &lt;span data-paragraph-id="29456" data-sentence-id="29819" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_29638"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Clark&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29638"&gt;&lt;span class="ldml-cite"&gt;¶ 31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;,
 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1080&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;455 P.3d at 337&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893108760" data-vids="893108760" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Martinez-Salazar&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;528 U.S. at 314-15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="29456" data-sentence-id="29919" class="ldml-sentence"&gt;Clark's
 choice to exercise a peremptory challenge against Juror K was
 an exercise of the full guarantee of what &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was granted by
 &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="30061" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="30061" data-sentence-id="30072" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30072"&gt;&lt;span class="ldml-cite"&gt;¶45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Clark also argues that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s error was not
 made in good faith and thus &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30072" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_30072"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;'s general rule for peremptory challenges
 does not apply.&lt;/span&gt; &lt;span data-paragraph-id="30061" data-sentence-id="30238" class="ldml-sentence"&gt;But nothing in the record indicates that &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; deliberately misapplied the law in order to force Clark
 to sacrifice a peremptory challenge, and Clark alleges no
 facts that indicate &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; otherwise acted in bad
 faith.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="30473" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="30473" data-sentence-id="30484" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30484"&gt;&lt;span class="ldml-cite"&gt;¶46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In sum, any error by &lt;span class="ldml-entity"&gt;the trial court in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt; did not
 result in a biased juror participating in Clark's trial,
 and Clark has not shown that any error was otherwise
 deliberate or made in bad faith.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-specifier="3" data-value="3.
 The Trial Court's Error Did Not Violate Clark's Right
 to Equal Protection" data-parsed="true" data-id="heading_30693" data-ordinal_end="3" data-format="number" data-content-heading-label="
 3.
The Trial Court's Error Did Not Violate Clark's Right
 to Equal Protection
" id="heading_30693" data-ordinal_start="3"&gt;&lt;span data-paragraph-id="30693" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="30693" data-sentence-id="30704" class="ldml-sentence"&gt;3.&lt;/span&gt;
&lt;span data-paragraph-id="30693" data-sentence-id="30707" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Trial Court&lt;/span&gt;'s Error Did Not Violate Clark's Right
 to Equal Protection&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="30782" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="30782" data-sentence-id="30793" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30793"&gt;&lt;span class="ldml-cite"&gt;¶47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Mirroring Judge Schutz's partial dissent, Clark argues
 that because Juror K expressed &lt;em class="ldml-emphasis"&gt;racial&lt;/em&gt; bias against
 him, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s denial of Clark's for-cause
 challenge violated Clark's right to equal protection
 under the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30793"&gt;&lt;span class="ldml-cite"&gt;Fourteenth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s
 error amounted to structural error.&lt;/span&gt; &lt;span data-paragraph-id="30782" data-sentence-id="31102" class="ldml-sentence"&gt;Because Clark cannot
 establish a violation of his right to equal protection, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 disagree.

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_31196" data-val="23"&gt;&lt;/span&gt;
 &lt;b class="ldml-bold"&gt;a.
 Bias in Jury Selection and the Equal Protection
 Clause&lt;/b&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="31267" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="31267" data-sentence-id="31278" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31278"&gt;&lt;span class="ldml-cite"&gt;¶48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The Equal Protection Clause of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31278"&gt;&lt;span class="ldml-cite"&gt;Fourteenth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 prohibits &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; from denying &lt;span class="ldml-quotation quote"&gt;"any person within its
 jurisdiction the equal protection of the laws."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="31267" data-sentence-id="31445" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31278"&gt;&lt;span class="ldml-cite"&gt;U.S.
 Const. amend. XIV&lt;/span&gt;, &lt;span class="ldml-cite"&gt;§ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31267" data-sentence-id="31475" class="ldml-sentence"&gt;The &lt;span class="ldml-quotation quote"&gt;"central purpose"&lt;/span&gt;
 of the Equal Protection Clause is &lt;span class="ldml-quotation quote"&gt;"the prevention of
 official conduct discriminating on the basis of race."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="31267" data-sentence-id="31607" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886971712" data-vids="886971712" class="ldml-reference" data-prop-ids="sentence_31475"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Washington v. Davis&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;426 U.S. 229, 239&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1976&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="31267" data-sentence-id="31654" class="ldml-sentence"&gt;Accordingly, proof of an equal protection violation requires
 a showing of &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;purposeful&lt;/em&gt; discrimination, &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;
 attributable to &lt;span class="ldml-entity"&gt;the &lt;em class="ldml-emphasis"&gt;state&lt;/em&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31267" data-sentence-id="31792" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886971712" data-vids="886971712" class="ldml-reference" data-prop-ids="sentence_31654"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886567799" data-vids="886567799" class="ldml-reference" data-prop-ids="sentence_31654"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Edmonson v. Leesville Concrete Co.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;500 U.S. 614,
 619&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="31860" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="31860" data-sentence-id="31871" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31871"&gt;&lt;span class="ldml-cite"&gt;¶49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Beginning with &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891064371" data-vids="891064371" class="ldml-reference" data-prop-ids="sentence_31871"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Swain v. Alabama&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;380 U.S. 202&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1965&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; has issued several decisions
 concerning the application of the Equal Protection Clause in
 the context of jury selection.&lt;/span&gt; &lt;span data-paragraph-id="31860" data-sentence-id="32071" class="ldml-sentence"&gt;Perhaps most notably, in
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_32071"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; held that &lt;span class="ldml-entity"&gt;the Constitution&lt;/span&gt; forbids
 racial discrimination in jury selection—specifically,
 &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; may not exercise peremptory challenges to
 purposefully or deliberately exclude persons from
 participating in a jury on account of their race.&lt;/span&gt;
&lt;span data-paragraph-id="31860" data-sentence-id="32360" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_32071"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;476 U.S. at 84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891064371" data-vids="891064371" class="ldml-reference" data-prop-ids="sentence_32071"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Swain&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;380
 U.S. at 203-04&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31860" data-sentence-id="32420" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_32420"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; established a three-step
 analysis designed to determine whether a peremptory strike
 reflected purposeful discrimination.&lt;/span&gt; &lt;span data-paragraph-id="31860" data-sentence-id="32550" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/897016516" data-vids="897016516" class="ldml-reference" data-prop-ids="sentence_32420"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Ojeda&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2022 CO 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32420"&gt;&lt;span class="ldml-cite"&gt;¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/907372681" data-vids="907372681" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;503 P.3d 856, 862&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see
 also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="embeddedsentence_32638"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;476 U.S. at 93&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"As in any equal
 protection case, the &lt;span class="ldml-quotation quote"&gt;'burden is, of course,'&lt;/span&gt; on &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt; who alleges discriminatory selection of the venire
 &lt;span class="ldml-quotation quote"&gt;'to prove the

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_32787" data-val="24"&gt;&lt;/span&gt;
 existence of purposeful discrimination.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893629224" data-vids="893629224" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Whitus v. Georgia&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;385 U.S. 545, 550&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1967&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32887" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="32887" data-sentence-id="32898" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32898"&gt;&lt;span class="ldml-cite"&gt;¶50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Although Clark leans into the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_32898"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; framework to
 argue against racial bias in the jury trial context, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; fails
 to articulate how the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_32898"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; framework applies to
 the challenge for cause to Juror K. The &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_32898"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 framework addresses racial bias in the jury selection process
 by prohibiting the discriminatory use of peremptory
 challenges to remove jurors on the basis of race.&lt;/span&gt; &lt;span data-paragraph-id="32887" data-sentence-id="33282" class="ldml-sentence"&gt;Clark's
 argument focuses on a completely different kind of
 &lt;span class="ldml-quotation quote"&gt;"racial bias in the jury selection
 process"&lt;/span&gt;—namely, a potential juror's
 expression of racial bias during voir dire.&lt;/span&gt; &lt;span data-paragraph-id="32887" data-sentence-id="33461" class="ldml-sentence"&gt;But the
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_33461"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; framework was not designed to address the
 issue of &lt;em class="ldml-emphasis"&gt;juror&lt;/em&gt; bias, which implicates &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33461"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right to an impartial jury.&lt;/span&gt;
&lt;span data-paragraph-id="32887" data-sentence-id="33619" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_33619"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;its progeny&lt;/span&gt; rest on &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;'s &lt;span class="ldml-quotation quote"&gt;"right to be tried by a jury whose
 members are selected by nondiscriminatory criteria."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="32887" data-sentence-id="33765" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871362" data-vids="888871362" class="ldml-reference" data-prop-ids="sentence_33619"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Powers v. Ohio&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;499 U.S. 400, 404&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="33807" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="33807" data-sentence-id="33818" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33818"&gt;&lt;span class="ldml-cite"&gt;¶51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In his &lt;span class="ldml-entity"&gt;separate opinion, Judge &lt;span class="ldml-entity"&gt;Schutz&lt;/span&gt;&lt;/span&gt; noted that the
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_33818"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; framework &lt;span class="ldml-quotation quote"&gt;"was designed &lt;span class="ldml-quotation quote"&gt;'to serve
 multiple ends,'&lt;/span&gt; only one of which was to protect
 individual &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; from discrimination in the selection of
 jurors."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="33807" data-sentence-id="34041" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_33818"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Clark&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33818"&gt;&lt;span class="ldml-cite"&gt;¶ 96&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1090&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(Schutz, J., concurring in part and dissenting in part)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871362" data-vids="888871362" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Powers&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;499 U.S. at 406&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33807" data-sentence-id="34162" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;the Supreme
 Court&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_34162"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; all focus on the harms that
 derive from the discriminatory use of peremptory challenges.&lt;/span&gt;
&lt;span data-paragraph-id="33807" data-sentence-id="34290" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871362" data-vids="888871362" class="ldml-reference" data-prop-ids="sentence_34162"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Powers&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;499 U.S. at 406&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33807" data-sentence-id="34319" class="ldml-sentence"&gt;For example, &lt;span class="ldml-entity"&gt;a
 defendant&lt;/span&gt; is denied equal protection of the laws when tried

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_34397" data-val="25"&gt;&lt;/span&gt;
 by a jury from which members of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s race have
 been purposefully excluded.&lt;/span&gt; &lt;span data-paragraph-id="33807" data-sentence-id="34486" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871362" data-vids="888871362" class="ldml-reference" data-prop-ids="sentence_34319"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 404&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33807" data-sentence-id="34498" class="ldml-sentence"&gt;In addition,
 the discriminatory use of peremptory challenges harms the
 excluded jurors and the community at large.&lt;/span&gt; &lt;span data-paragraph-id="33807" data-sentence-id="34615" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871362" data-vids="888871362" class="ldml-reference" data-prop-ids="sentence_34498"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="embeddedsentence_34658,sentence_34498"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;McCollum&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;505 U.S. at 48-49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;acknowledging
 that the harm that flows from discriminatory jury selection
 also undermines public confidence in the integrity of the
 criminal justice system&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33807" data-sentence-id="34819" class="ldml-sentence"&gt;But the various harms addressed by
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_34819"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; all stem from discrimination in the selection
 of jurors—specifically, discrimination in the
 discretionary exercise of peremptory challenges.&lt;/span&gt; &lt;span data-paragraph-id="33807" data-sentence-id="35005" class="ldml-sentence"&gt;Because
 Clark's argument does not concern purposeful
 discrimination in the selection of jurors, his reliance on
 the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_35005"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; framework is misplaced.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="35155" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="35155" data-sentence-id="35166" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35166"&gt;&lt;span class="ldml-cite"&gt;¶52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Even aside from the obvious factual distinctions between
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_35166"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; and the circumstances here, Clark fails
 to allege any equal protection violation.&lt;/span&gt; &lt;span data-paragraph-id="35155" data-sentence-id="35325" class="ldml-sentence"&gt;As explained above,
 the Equal Protection Clause prohibits &lt;em class="ldml-emphasis"&gt;state actors&lt;/em&gt;
 from &lt;em class="ldml-emphasis"&gt;purposefully&lt;/em&gt; discriminating on the basis of
 race.&lt;/span&gt; &lt;span data-paragraph-id="35155" data-sentence-id="35454" class="ldml-sentence"&gt;Clark argues that, by &lt;span class="ldml-quotation quote"&gt;"tolerating"&lt;/span&gt; Juror
 K's continued presence on the jury despite his racially
 biased comments, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; denied Clark equal protection of
 the law.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="35623" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="35623" data-sentence-id="35634" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35634"&gt;&lt;span class="ldml-cite"&gt;¶53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To support his contention that the tolerance of racial bias
 constitutes an equal protection violation, Clark cites
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="sentence_35634"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;McCollum&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35623" data-sentence-id="35766" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="sentence_35766"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;McCollum&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; addressed
 whether to extend the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_35766"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; framework to apply to a
 criminal &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s &lt;span class="ldml-quotation quote"&gt;"&lt;em class="ldml-emphasis"&gt;purposeful racial
 discrimination&lt;/em&gt; in the exercise of peremptory

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_35942" data-val="26"&gt;&lt;/span&gt;
 challenges."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35623" data-sentence-id="35957" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="sentence_35766"&gt;&lt;span class="ldml-cite"&gt;505 U.S. at 46-48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35623" data-sentence-id="35993" class="ldml-sentence"&gt;The
 issue of whether purposeful discrimination occurred was not
 at issue—in fact, that issue would be determined, if
 the framework applied, through &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_35993"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; analysis&lt;/span&gt;
 itself.&lt;/span&gt; &lt;span data-paragraph-id="35623" data-sentence-id="36173" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="sentence_35993"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="36184" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="36184" data-sentence-id="36195" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36195"&gt;&lt;span class="ldml-cite"&gt;¶54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Accordingly, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="sentence_36195"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;McCollum&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Court&lt;/span&gt;'s analysis&lt;/span&gt; began
 with the question of whether the purposefully discriminatory
 exercise of peremptory challenges by the &lt;em class="ldml-emphasis"&gt;defense&lt;/em&gt;
 causes the same kind of harm addressed by &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_36195"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="36184" data-sentence-id="36412" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; concluded that it did, stating: &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-quotation quote"&gt;'&lt;span class="ldml-parenthetical"&gt;[B]&lt;/span&gt;e it
 at the hands of &lt;span class="ldml-entity"&gt;the State&lt;/span&gt; or the defense,'&lt;/span&gt; if &lt;span class="ldml-entity"&gt;a court&lt;/span&gt;
 allows jurors to be excluded because of group bias, &lt;span class="ldml-quotation quote"&gt;'&lt;span class="ldml-parenthetical"&gt;[it]&lt;/span&gt;
 is &lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt; willing participant in a scheme that could only
 undermine the very foundation of our system of
 justice—our citizens' confidence in it.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="36184" data-sentence-id="36725" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="sentence_36412"&gt;&lt;span class="ldml-cite"&gt;505 U.S. at 49-50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;alterations in original&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894037301" data-vids="894037301" class="ldml-reference" data-prop-ids="sentence_36412"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;State v. Alvarado&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;534 A.2d 440, 442&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;N.J.Super.
 Ct. Law Div.&lt;/span&gt; &lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="36849" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="36849" data-sentence-id="36860" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36860"&gt;&lt;span class="ldml-cite"&gt;¶55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Clark relies on this language to support his contention that
 &lt;span class="ldml-entity"&gt;a court&lt;/span&gt;'s tolerance of racial bias is, standing alone,
 sufficient to establish an equal protection violation.&lt;/span&gt; &lt;span data-paragraph-id="36849" data-sentence-id="37038" class="ldml-sentence"&gt;But
 the quote from &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="sentence_37038"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;McCollum&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides no such support.&lt;/span&gt;
&lt;span data-paragraph-id="36849" data-sentence-id="37093" class="ldml-sentence"&gt;Whether conduct was purposefully discriminatory was not at
 issue in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="sentence_37093"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;McCollum&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;; thus, the quoted language has no
 relevance to that element of an equal protection violation
 claim.&lt;/span&gt; &lt;span data-paragraph-id="36849" data-sentence-id="37273" class="ldml-sentence"&gt;The language is likewise irrelevant to the
 determination of whether there was state action.&lt;/span&gt; &lt;span data-paragraph-id="36849" data-sentence-id="37366" class="ldml-sentence"&gt;In fact, &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; immediately followed the quoted language by saying:&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_37438" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="37439" class="ldml-sentence"&gt;The fact that &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s use of discriminatory
 peremptory challenges harms the jurors and the community
 &lt;em class="ldml-emphasis"&gt;does not end our equal&lt;/em&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_37571" data-val="27"&gt;&lt;/span&gt;
&lt;em class="ldml-emphasis"&gt;protection inquiry&lt;/em&gt;.&lt;/span&gt; &lt;span data-sentence-id="37592" class="ldml-sentence"&gt;Racial discrimination, although
 repugnant in all contexts, &lt;em class="ldml-emphasis"&gt;violates &lt;span class="ldml-entity"&gt;the Constitution&lt;/span&gt; only
 when it is attributable to state action&lt;/em&gt;.&lt;/span&gt; &lt;span data-sentence-id="37725" class="ldml-sentence"&gt;Thus, the
 second question that must be answered is whether a criminal
 &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;'s exercise of a peremptory challenge
 constitutes state action for purposes of the Equal Protection
 Clause.&lt;/span&gt;
&lt;/blockquote&gt;&lt;p data-paragraph-id="37916" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="37916" data-sentence-id="37917" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;505 U.S. at 50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citation omitted&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphases added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="37969" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="37969" data-sentence-id="37980" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37980"&gt;&lt;span class="ldml-cite"&gt;¶56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To the extent Clark contends that &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s
 ruling&lt;/span&gt; unnecessarily required him to use a peremptory
 challenge on the basis of his race, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; disagree.&lt;/span&gt; &lt;span data-paragraph-id="37969" data-sentence-id="38142" class="ldml-sentence"&gt;Clark
 analogizes &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s ruling&lt;/span&gt; to a hypothetical
 &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; that provides Black &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; with one less
 peremptory challenge than white &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37969" data-sentence-id="38302" class="ldml-sentence"&gt;While such &lt;span class="ldml-entity"&gt;a
 statute&lt;/span&gt; would surely violate the Equal Protection Clause, no
 comparable purposeful discrimination occurred here.&lt;/span&gt; &lt;span data-paragraph-id="37969" data-sentence-id="38430" class="ldml-sentence"&gt;As
 discussed above, nothing in the record suggests that &lt;span class="ldml-entity"&gt;the
 trial court&lt;/span&gt; purposely denied Clark's challenge for cause
 to force Clark to expend a peremptory challenge.&lt;/span&gt; &lt;span data-paragraph-id="37969" data-sentence-id="38599" class="ldml-sentence"&gt;Were that
 true, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s error would not have been made in good
 faith and would therefore be excepted from
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38599" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s general rule.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="38736" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="38736" data-sentence-id="38747" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38747"&gt;&lt;span class="ldml-cite"&gt;¶57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Finally, Clark contends that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s denial of
 his challenge for cause to Juror K amounts to structural
 error because the impacts of the error reflect the concerns
 articulated by &lt;span class="ldml-entity"&gt;the Supreme Court in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887604229" data-vids="887604229" class="ldml-reference" data-prop-ids="sentence_38747"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Weaver v.
 Massachusetts&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;582 U.S. 286&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2017&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38736" data-sentence-id="39012" class="ldml-sentence"&gt;There, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;
 articulated three broad rationales for deeming an error
 structural, namely where &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the right at issue protects some
 interest other than preventing &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s erroneous
 conviction; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"the effects of the error are

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_39256" data-val="28"&gt;&lt;/span&gt;
 simply too hard to measure,"&lt;/span&gt; making it &lt;span class="ldml-quotation quote"&gt;"almost
 impossible"&lt;/span&gt; for the government to prove the error was
 harmless beyond a reasonable doubt; or &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the error always
 results in fundamental unfairness and thus any effort by the
 government to show harmlessness &lt;span class="ldml-quotation quote"&gt;"would be futile."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="38736" data-sentence-id="39535" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887604229" data-vids="887604229" class="ldml-reference" data-prop-ids="sentence_39012"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 295-96&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="39550" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="39550" data-sentence-id="39561" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39561"&gt;&lt;span class="ldml-cite"&gt;¶58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have explained, structural errors are a narrow class of
 constitutional errors.&lt;/span&gt; &lt;span data-paragraph-id="39550" data-sentence-id="39652" class="ldml-sentence"&gt;Because Clark has not established a
 constitutional violation, any error by &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; cannot
 be deemed structural.&lt;/span&gt; &lt;span data-paragraph-id="39550" data-sentence-id="39774" class="ldml-sentence"&gt;Regardless, the error here did not
 result in the type of harm contemplated by &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887604229" data-vids="887604229" class="ldml-reference" data-prop-ids="sentence_39774"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Weaver&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="39550" data-sentence-id="39861" class="ldml-sentence"&gt;Clark focuses on the impact of the judge's decision on
 the potential jurors' perception of the judiciary, saying
 that the denial &lt;span class="ldml-quotation quote"&gt;"sent an intolerable message."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="39550" data-sentence-id="40023" class="ldml-sentence"&gt;As a
 factual matter, this claim is unsupported.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="40072" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="40072" data-sentence-id="40083" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40083"&gt;&lt;span class="ldml-cite"&gt;¶59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Crucially, there is no evidence that the jury was aware of
 the challenge, let alone &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s ruling&lt;/span&gt; or its
 reasoning.&lt;/span&gt; &lt;span data-paragraph-id="40072" data-sentence-id="40211" class="ldml-sentence"&gt;The challenge and the ruling were made during a
 bench conference, out of the potential jurors' hearing.&lt;/span&gt;
&lt;span data-paragraph-id="40072" data-sentence-id="40316" class="ldml-sentence"&gt;And when &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; provided its reasoning on the record
 after the fact, all of the jurors had been dismissed from the
 room.&lt;/span&gt; &lt;span data-paragraph-id="40072" data-sentence-id="40448" class="ldml-sentence"&gt;Ultimately, the only events the jurors witnessed were
 Juror K's comments during voir dire and Juror K's
 subsequent dismissal.&lt;/span&gt; &lt;span data-paragraph-id="40072" data-sentence-id="40576" class="ldml-sentence"&gt;If there was any reasonable conclusion
 to draw about the permissibility of racial bias in the
 courtroom, it was that such expressions of bias result in
 dismissal, not that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are tolerated or welcomed.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_40783" data-val="29"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="40783" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="40783" data-sentence-id="40794" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40794"&gt;&lt;span class="ldml-cite"&gt;¶60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Clark has thus failed to prove any cognizable harm, much less
 a constitutional error that rises to the level of structural
 error.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-specifier="4" data-value="4.
 The Trial Court's Erroneous Denial of Clark's
 For-Cause Challenge of Juror K Was Harmless and Does Not
 Require Reversal" data-parsed="true" data-id="heading_40931" data-ordinal_end="4" data-format="number" data-content-heading-label="
 4.
The Trial Court's Erroneous Denial of Clark's
 For-Cause Challenge of Juror K Was Harmless and Does Not
 Require Reversal
" id="heading_40931" data-ordinal_start="4"&gt;&lt;span data-paragraph-id="40931" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="40931" data-sentence-id="40942" class="ldml-sentence"&gt;4.&lt;/span&gt;
&lt;span data-paragraph-id="40931" data-sentence-id="40945" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Trial Court&lt;/span&gt;'s Erroneous Denial of Clark's
 For-Cause Challenge of Juror K Was Harmless and Does Not
 Require Reversal&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="41067" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="41067" data-sentence-id="41078" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41078"&gt;&lt;span class="ldml-cite"&gt;¶61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41078" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Novotny&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895629801" data-vids="895629801" class="ldml-reference" data-prop-ids="sentence_41078"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vigil&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; govern the
 analysis here, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s error for
 harmlessness to determine whether reversal is required.&lt;/span&gt;
&lt;span data-paragraph-id="41067" data-sentence-id="41231" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Under this standard, reversal is required only if the
 error affects the substantial rights of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;That is,
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reverse if the error &lt;span class="ldml-quotation quote"&gt;'substantially influenced the
 verdict or affected the fairness of the trial
 proceedings.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="41067" data-sentence-id="41467" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference" data-prop-ids="sentence_41231"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Hagos v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2012 CO 63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41231"&gt;&lt;span class="ldml-cite"&gt;¶ 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895257365" data-vids="895257365" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;288 P.3d 116, 119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citations omitted&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887212575" data-vids="887212575" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Tevlin v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;715 P.2d 338, 342&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="41601" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="41601" data-sentence-id="41612" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41612"&gt;&lt;span class="ldml-cite"&gt;¶62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Juror K did not actually serve on the jury in Clark's
 trial.&lt;/span&gt; &lt;span data-paragraph-id="41601" data-sentence-id="41679" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s denial of Clark's
 challenge to remove Juror K for cause did not substantially
 influence the verdict or affect the fairness of the trial
 proceedings.&lt;/span&gt; &lt;span data-paragraph-id="41601" data-sentence-id="41860" class="ldml-sentence"&gt;As explained above, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s denial of
 his for-cause challenge did not &lt;span class="ldml-quotation quote"&gt;"force"&lt;/span&gt; Clark to
 use one of his peremptory challenges or otherwise deprive him
 of the full allotment of peremptory challenges granted by
 &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; to criminal &lt;span class="ldml-entity"&gt;defendants&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="42107" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="42107" data-sentence-id="42118" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42118"&gt;&lt;span class="ldml-cite"&gt;¶63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To hold that an erroneous denial of a challenge for cause to
 a potential juror who has expressed racial bias is not
 structural error is not to say it is unimportant or
 inconsequential.&lt;/span&gt; &lt;span data-paragraph-id="42107" data-sentence-id="42311" class="ldml-sentence"&gt;However, where, as here, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s
 use of a peremptory

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_42375" data-val="30"&gt;&lt;/span&gt;
 challenge to remove the juror ensured that the biased juror
 did not ultimately sit on the jury, reversal of &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;'s conviction is not required because there was
 no violation of the right to an impartial jury or the right
 to equal protection.&lt;/span&gt; &lt;span data-paragraph-id="42107" data-sentence-id="42631" class="ldml-sentence"&gt;Where a good faith error does not end up
 impacting &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s trial, reversal is unwarranted.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="B" data-value="B.
 Juror LL's Affidavit" data-parsed="true" data-id="heading_42731" data-ordinal_end="2" data-format="upper_case_letters" data-content-heading-label="
 B.
Juror LL's Affidavit
" id="heading_42731" data-ordinal_start="2"&gt;&lt;span data-paragraph-id="42731" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="42731" data-sentence-id="42742" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="42731" data-sentence-id="42745" class="ldml-sentence"&gt;Juror LL's Affidavit&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="42766" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="42766" data-sentence-id="42777" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42777"&gt;&lt;span class="ldml-cite"&gt;¶64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Clark argues that Juror LL's affidavit describing
 statements made by another juror during deliberations
 constituted &lt;span class="ldml-quotation quote"&gt;"extraneous prejudicial information"&lt;/span&gt;
 under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is therefore entitled to an
 evidentiary hearing to determine whether that information
 posed a reasonable possibility of prejudice.&lt;/span&gt; &lt;span data-paragraph-id="42766" data-sentence-id="43101" class="ldml-sentence"&gt;After setting
 forth the applicable standard of review, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; discuss &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE
 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and the requirements for a new trial based on a claim
 that the jury was exposed to extraneous prejudicial
 information.&lt;/span&gt; &lt;span data-paragraph-id="42766" data-sentence-id="43301" class="ldml-sentence"&gt;Applying this framework, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the
 statements mentioned in Juror LL's affidavit did not
 constitute &lt;span class="ldml-quotation quote"&gt;"extraneous prejudicial information."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-id="heading_43451" data-value="1.
 Standard of Review" data-types="standardofreview" data-confidences="very_high" data-parsed="true" data-ordinal_end="1" data-specifier="1" data-format="number" data-content-heading-label="
 1.
Standard of Review
" id="heading_43451" data-ordinal_start="1"&gt;&lt;span data-paragraph-id="43451" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="43451" data-sentence-id="43462" class="ldml-sentence"&gt;1.&lt;/span&gt;
&lt;span data-paragraph-id="43451" data-sentence-id="43465" class="ldml-sentence"&gt;Standard of Review&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="43484" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="43484" data-sentence-id="43495" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43495"&gt;&lt;span class="ldml-cite"&gt;¶65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Whether the statements in Juror LL's affidavit
 constituted &lt;span class="ldml-quotation quote"&gt;"extraneous prejudicial information"&lt;/span&gt;
 under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is a legal question &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review de novo.&lt;/span&gt;
&lt;span data-paragraph-id="43484" data-sentence-id="43654" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887881808" data-vids="887881808" class="ldml-reference" data-prop-ids="sentence_43495"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Harlan&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 P.3d 616, 624&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_43708" data-val="31"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-specifier="2" data-value="2.
 CRE 606(b)" data-parsed="true" data-id="heading_43708" data-ordinal_end="2" data-format="number" data-content-heading-label="
 2.
CRE 606(b)
" id="heading_43708" data-ordinal_start="2"&gt;&lt;span data-paragraph-id="43708" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="43708" data-sentence-id="43719" class="ldml-sentence"&gt;2.&lt;/span&gt;
&lt;span data-paragraph-id="43708" data-sentence-id="43722" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43719"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="43733" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="43733" data-sentence-id="43744" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43744"&gt;&lt;span class="ldml-cite"&gt;¶66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In order to promote &lt;span class="ldml-quotation quote"&gt;"finality of verdicts, shield
 verdicts from impeachment, and protect jurors from harassment
 and coercion,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43744"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, Colorado law strongly
 disfavors any juror testimony impeaching a verdict,
 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885896933" data-vids="885896933" class="ldml-reference" data-prop-ids="sentence_43744"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Kendrick v. Pippin&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;252 P.3d 1052, 1063&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887881808" data-vids="887881808" class="ldml-reference" data-prop-ids="sentence_43744"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Harlan&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 P.3d at 624&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-cert"&gt;abrogated on
 other grounds by&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887890559" data-vids="887890559" class="ldml-reference" data-prop-ids="sentence_43744"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Bedor v. Johnson&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2013 CO 4&lt;/span&gt;, &lt;span class="ldml-cite"&gt;292 P.3d
 924&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43733" data-sentence-id="44121" class="ldml-sentence"&gt;With certain exceptions not relevant here, &lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt;
&lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44121" data-refglobal="case:peña-rodriguezvcolorado,580us206,235,137sct855,197led2d1072017alito,j,dissenting"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Pena-Rodriguez&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;580 U.S. at 225&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, such testimony is
 generally prohibited, &lt;span class="ldml-quotation quote"&gt;"even on grounds such as mistake,
 misunderstanding of the law or facts, failure to follow
 instructions, lack of unanimity, or application of the wrong
 legal standard,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887881808" data-vids="887881808" class="ldml-reference" data-prop-ids="sentence_44121"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Harlan&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 P.3d at 624&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44121" data-refglobal="case:inrehallvlevineno04sa179104p3d222january10,2005"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Hall v. Levine&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;104 P.3d 222, 225&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt;
&lt;span class="ldml-date"&gt;2005&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="44494" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="44494" data-sentence-id="44505" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44505"&gt;&lt;span class="ldml-cite"&gt;¶67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; codifies this general prohibition on inquiries
 into the validity of a verdict, stating that:&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_44615" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="44616" class="ldml-sentence"&gt;a juror may not testify as to any matter or statement
 occurring during the course of the jury's deliberations
 or to the effect of anything upon his or any other
 juror's mind or emotions as influencing him to assent to
 or dissent from the verdict or indictment or concerning his
 mental processes in connection therewith.&lt;/span&gt;
&lt;/blockquote&gt;&lt;p data-paragraph-id="44941" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="44941" data-sentence-id="44942" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44942"&gt;&lt;span class="ldml-cite"&gt;Rule 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; nevertheless allows inquiry into three narrow
 matters: &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; whether extraneous prejudicial information
 was improperly brought to the jurors' attention, &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;
 whether any outside influence was improperly brought to bear
 upon any juror, or &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; whether there was a mistake in
 entering the verdict onto the

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_45262" data-val="32"&gt;&lt;/span&gt;
 verdict form."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="44941" data-sentence-id="45279" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44942"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="44941" data-sentence-id="45283" class="ldml-sentence"&gt;Under the Rule, &lt;span class="ldml-entity"&gt;a trial
 court&lt;/span&gt; may not receive a juror's affidavit concerning
 anything other than these three matters.&lt;/span&gt; &lt;span data-paragraph-id="44941" data-sentence-id="45403" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45283"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"A juror's affidavit or evidence of any statement
 by the juror may not be received on a matter about which the
 juror would be precluded from testifying."&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="45566" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="45566" data-sentence-id="45577" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45577"&gt;&lt;span class="ldml-cite"&gt;¶68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To set aside a verdict because of extraneous prejudicial
 information improperly brought to the jurors' attention,
 &lt;span class="ldml-quotation quote"&gt;"a &lt;span class="ldml-entity"&gt;party&lt;/span&gt; must show both that extraneous information was
 improperly before the jury and that the extraneous
 information posed the reasonable possibility of prejudice to
 &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="45566" data-sentence-id="45885" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885896933" data-vids="885896933" class="ldml-reference" data-prop-ids="sentence_45577"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Kendrick&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;252 P.3d at 1063&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="45913" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="45913" data-sentence-id="45924" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45924"&gt;&lt;span class="ldml-cite"&gt;¶69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The evaluation of whether the extraneous prejudicial
 information exception to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; applies proceeds in two
 steps.&lt;/span&gt; &lt;span data-paragraph-id="45913" data-sentence-id="46051" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887881808" data-vids="887881808" class="ldml-reference" data-prop-ids="sentence_45924"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Harlan&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 P.3d at 629&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="46076" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="46076" data-sentence-id="46087" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46087"&gt;&lt;span class="ldml-cite"&gt;¶70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 At step one, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must determine whether &lt;span class="ldml-entity"&gt;the party&lt;/span&gt;
 alleging misconduct has presented competent evidence alleging
 that extraneous prejudicial information was improperly before
 the jury.&lt;/span&gt; &lt;span data-paragraph-id="46076" data-sentence-id="46285" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885896933" data-vids="885896933" class="ldml-reference" data-prop-ids="sentence_46087"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Kendrick&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;252 P.3d at 1063-64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="46076" data-sentence-id="46316" class="ldml-sentence"&gt;At this
 step, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; must determine as a matter of law
 whether the alleged information before the jury constitutes
 prejudicial extraneous information.&lt;/span&gt; &lt;span data-paragraph-id="46076" data-sentence-id="46479" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;See Newman&lt;/em&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46479"&gt;&lt;span class="ldml-cite"&gt;¶ 14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886962296" data-vids="886962296" class="ldml-reference" data-prop-ids="sentence_46479"&gt;&lt;span class="ldml-cite"&gt;471 P.3d at 1250&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="46076" data-sentence-id="46516" class="ldml-sentence"&gt;If the information does not
 constitute prejudicial extraneous information, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; may
 properly dismiss the &lt;span class="ldml-entity"&gt;motion for a new trial&lt;/span&gt; without a
 hearing.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_46671" data-val="33"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="46671" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="46671" data-sentence-id="46682" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46682"&gt;&lt;span class="ldml-cite"&gt;¶71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 If the information does constitute extraneous prejudicial
 information, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must determine at step two &lt;span class="ldml-parenthetical"&gt;(often
 following a hearing)&lt;/span&gt; whether there is a reasonable
 possibility that the extraneous prejudicial information
 influenced the verdict to the detriment of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="46671" data-sentence-id="46971" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885896933" data-vids="885896933" class="ldml-reference" data-prop-ids="sentence_46682"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Kendrick&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;252 P.3d at 1063&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="46671" data-sentence-id="46999" class="ldml-sentence"&gt;The test at the second
 step applies an objective standard—the relevant
 question is whether there is a reasonable possibility of such
 impact.&lt;/span&gt; &lt;span data-paragraph-id="46671" data-sentence-id="47143" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887881808" data-vids="887881808" class="ldml-reference" data-prop-ids="sentence_46999"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Harlan&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;109 P.3d at 625&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="47168" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="47168" data-sentence-id="47179" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47179"&gt;&lt;span class="ldml-cite"&gt;¶72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 During the second step, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; should consider those
 factors articulated in our prior &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; how the
 extraneous information related to critical issues in &lt;span class="ldml-entity"&gt;the
 case&lt;/span&gt;; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the degree of authority represented by the
 extraneous information; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; how the information was acquired;
 &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; whether the information was shared with other jurors in
 the jury room; &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; whether the information was considered
 before the jury reached its verdict; and &lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt; whether there is
 a reasonable possibility that the information would influence
 a typical juror to &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s detriment.&lt;/span&gt;
&lt;span data-paragraph-id="47168" data-sentence-id="47761" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887881808" data-vids="887881808" class="ldml-reference" data-prop-ids="sentence_47179"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 630-31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="47776" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="47776" data-sentence-id="47787" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47787"&gt;&lt;span class="ldml-cite"&gt;¶73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Clark argues that consideration of whether the extraneous
 information relates to an issue before the jury pertains only
 to the prejudice analysis at step two and has no bearing on
 whether the information is &lt;span class="ldml-quotation quote"&gt;"extraneous"&lt;/span&gt; at step
 one.&lt;/span&gt; &lt;span data-paragraph-id="47776" data-sentence-id="48029" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="48042" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="48042" data-sentence-id="48053" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_48053"&gt;&lt;span class="ldml-cite"&gt;¶74&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 At step one, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must determine whether the information
 qualifies as &lt;span class="ldml-quotation quote"&gt;"extraneous prejudicial information."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="48042" data-sentence-id="48172" class="ldml-sentence"&gt;This step requires &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to determine if

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_48219" data-val="34"&gt;&lt;/span&gt;
 the information was &lt;span class="ldml-quotation quote"&gt;"prejudicial"&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(and not merely
 extraneous)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="48042" data-sentence-id="48285" class="ldml-sentence"&gt;By contrast, at step two, the inquiry is whether
 there is a reasonable possibility that the extraneous
 prejudicial information affected the jury's verdict to
 the detriment of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="48042" data-sentence-id="48478" class="ldml-sentence"&gt;While the determination of
 whether the information is prejudicial at step one overlaps
 with the determination of whether there is a reasonable
 possibility that the information prejudiced &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; at
 step two, the burden on &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; at each step is
 different.&lt;/span&gt; &lt;span data-paragraph-id="48042" data-sentence-id="48752" class="ldml-sentence"&gt;At step one, &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;party&lt;/span&gt; seeking impeachment
 must produce competent evidence to attack the verdict,"&lt;/span&gt;
 that is, evidence admissible under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; that calls into
 question the validity of the verdict.&lt;/span&gt; &lt;span data-paragraph-id="48042" data-sentence-id="48955" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888515067" data-vids="888515067" class="ldml-reference" data-prop-ids="sentence_48752"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Garcia&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;752 P.2d 570, 583&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="48042" data-sentence-id="49006" class="ldml-sentence"&gt;However, at step
 two, &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;party&lt;/span&gt; must establish adequate grounds to
 overturn the verdict."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="48042" data-sentence-id="49099" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888515067" data-vids="888515067" class="ldml-reference" data-prop-ids="sentence_49006"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-specifier="3" data-value="3.
 What Constitutes Extraneous Prejudicial Information?" data-parsed="true" data-id="heading_49103" data-ordinal_end="3" data-format="number" data-content-heading-label="
 3.
What Constitutes Extraneous Prejudicial Information?
" id="heading_49103" data-ordinal_start="3"&gt;&lt;span data-paragraph-id="49103" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="49103" data-sentence-id="49114" class="ldml-sentence"&gt;3.&lt;/span&gt;
&lt;span data-paragraph-id="49103" data-sentence-id="49117" class="ldml-sentence"&gt;What Constitutes Extraneous Prejudicial Information?&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="49170" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="49170" data-sentence-id="49181" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49181"&gt;&lt;span class="ldml-cite"&gt;¶75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"
 &lt;span class="ldml-parenthetical"&gt;[E]&lt;/span&gt;xtraneous prejudicial information consists of &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;'legal content and specific factual information'&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;'learned from outside the record'&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; that is
 &lt;span class="ldml-quotation quote"&gt;'relevant to the issues in &lt;span class="ldml-entity"&gt;a case&lt;/span&gt;.'&lt;/span&gt;"&lt;/span&gt;
&lt;span data-paragraph-id="49170" data-sentence-id="49377" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886962296" data-vids="886962296" class="ldml-reference" data-prop-ids="sentence_49181"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Newman&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49181"&gt;&lt;span class="ldml-cite"&gt;¶ 15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886962296" data-vids="886962296" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;471 P.3d at 1250&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885896933" data-vids="885896933" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Kendrick&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;252 P.3d at 1064&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="49170" data-sentence-id="49446" class="ldml-sentence"&gt;Like the division
 below, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; find the thorough analysis of our &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; provided
 in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;' opinion in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886962296" data-vids="886962296" class="ldml-reference" data-prop-ids="sentence_49446"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Newman&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
 helpful.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_49581" data-val="35"&gt;&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth4" data-specifier="a" data-value="a.
 Legal Content" data-parsed="true" data-id="heading_49581" data-ordinal_end="1" data-format="lower_case_letters" data-content-heading-label="
 a.
 Legal Content
" id="heading_49581" data-ordinal_start="1"&gt;&lt;span data-paragraph-id="49581" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="49581" data-sentence-id="49592" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;a.
 Legal Content&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="49610" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="49610" data-sentence-id="49621" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49621"&gt;&lt;span class="ldml-cite"&gt;¶76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Extraneous prejudicial information can take the form of legal
 content or factual information.&lt;/span&gt; &lt;span data-paragraph-id="49610" data-sentence-id="49721" class="ldml-sentence"&gt;Clark argues that the
 statements at issue here introduced extraneous legal content.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="49806" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="49806" data-sentence-id="49817" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49817"&gt;&lt;span class="ldml-cite"&gt;¶77&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In evaluating what constitutes &lt;span class="ldml-quotation quote"&gt;"legal content,"&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886962296" data-vids="886962296" class="ldml-reference" data-prop-ids="sentence_49817"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Newman&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; evaluated four of our decisions for guidance.&lt;/span&gt;
&lt;span data-paragraph-id="49806" data-sentence-id="49923" class="ldml-sentence"&gt;First, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888441067" data-vids="888441067" class="ldml-reference" data-prop-ids="sentence_49923"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Alvarez v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;653 P.2d 1127, 1131&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; held that it is improper for a juror
 to consult a dictionary definition of &lt;span class="ldml-quotation quote"&gt;"reasonable"&lt;/span&gt;
 in order to &lt;span class="ldml-quotation quote"&gt;"assist in understanding legal terminology
 in &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s instructions"&lt;/span&gt; on the reasonable doubt
 standard.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="50207" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="50207" data-sentence-id="50218" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50218"&gt;&lt;span class="ldml-cite"&gt;¶78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Similarly, in both &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871330" data-vids="888871330" class="ldml-reference" data-prop-ids="sentence_50218"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Niemand v. District Court&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;684
 P.2d 931, 932 n.1&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1984&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892748417" data-vids="892748417" class="ldml-reference" data-prop-ids="sentence_50218"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Wiser v. People&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;732 P.2d 1139, 1141&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; determined that
 a juror's consultation of a dictionary to assist in
 understanding of elements of a crime was improper.&lt;/span&gt; &lt;span data-paragraph-id="50207" data-sentence-id="50494" class="ldml-sentence"&gt;In
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871330" data-vids="888871330" class="ldml-reference" data-prop-ids="sentence_50494"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Niemand&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the juror consulted Black's Law
 Dictionary to review the definitions of terms relevant to the
 second degree murder and manslaughter charges &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;
 faced, including &lt;span class="ldml-quotation quote"&gt;"malice,"&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"premeditation,"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"second degree
 murder."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="50207" data-sentence-id="50737" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871330" data-vids="888871330" class="ldml-reference" data-prop-ids="sentence_50494"&gt;&lt;span class="ldml-cite"&gt;684 P.2d at 932&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="50207" data-sentence-id="50754" class="ldml-sentence"&gt;Similarly, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892748417" data-vids="892748417" class="ldml-reference" data-prop-ids="sentence_50754"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Wiser&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 the juror looked up the definition of &lt;span class="ldml-quotation quote"&gt;"burglary,"&lt;/span&gt;
 one of the crimes with which &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; was charged.&lt;/span&gt; &lt;span data-paragraph-id="50207" data-sentence-id="50883" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892748417" data-vids="892748417" class="ldml-reference" data-prop-ids="sentence_50754"&gt;&lt;span class="ldml-cite"&gt;732
 P.2d at 1140&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="50207" data-sentence-id="50902" class="ldml-sentence"&gt;In both &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; noted that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[j]&lt;/span&gt;urors are
 required to follow only the law as it is given in &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt;'s instructions; &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are bound, therefore, to
 accept &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s definitions of legal concepts and to
 obtain

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_51120" data-val="36"&gt;&lt;/span&gt;
 clarifications of any ambiguities in terminology from the
 trial judge, not from extraneous sources."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="50207" data-sentence-id="51224" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871330" data-vids="888871330" class="ldml-reference" data-prop-ids="sentence_50902"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Niemand&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;684 P.2d at 934&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892748417" data-vids="892748417" class="ldml-reference" data-prop-ids="sentence_50902"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Wiser&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;732 P.2d
 at 1141&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871330" data-vids="888871330" class="ldml-reference" data-prop-ids="sentence_50902"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Niemand&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;684 P.2d at 934&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="51311" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="51311" data-sentence-id="51322" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51322"&gt;&lt;span class="ldml-cite"&gt;¶79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Finally, in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887881808" data-vids="887881808" class="ldml-reference" data-prop-ids="sentence_51322"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Harlan&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; found that the Bible
 scripture improperly considered by the jury during the death
 penalty phase of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; could be viewed as an improper
 &lt;span class="ldml-quotation quote"&gt;"legal instruction, issuing from God, requiring a
 particular and mandatory punishment for murder."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="51311" data-sentence-id="51600" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887881808" data-vids="887881808" class="ldml-reference" data-prop-ids="sentence_51322"&gt;&lt;span class="ldml-cite"&gt;109
 P.3d at 632&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="51618" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="51618" data-sentence-id="51629" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51629"&gt;&lt;span class="ldml-cite"&gt;¶80&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886962296" data-vids="886962296" class="ldml-reference" data-prop-ids="sentence_51629"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Newman&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; articulated, our prior decisions make
 clear that &lt;span class="ldml-quotation quote"&gt;"legal content"&lt;/span&gt; means a statement of
 law.&lt;/span&gt; &lt;span data-paragraph-id="51618" data-sentence-id="51737" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51629"&gt;&lt;span class="ldml-cite"&gt;¶ 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886962296" data-vids="886962296" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;471 P.3d at 1252&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth4" data-specifier="b" data-value="b.
 Outside the Record" data-parsed="true" data-id="heading_51761" data-ordinal_end="2" data-format="lower_case_letters" data-content-heading-label="
 b.
 Outside the Record
" id="heading_51761" data-ordinal_start="2"&gt;&lt;span data-paragraph-id="51761" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="51761" data-sentence-id="51772" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;b.
 Outside the Record&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="51795" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="51795" data-sentence-id="51806" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51806"&gt;&lt;span class="ldml-cite"&gt;¶81&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"Extraneous"&lt;/span&gt; information is information gleaned
 from outside the record or information not included in &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt;'s instructions to the jury.&lt;/span&gt; &lt;span data-paragraph-id="51795" data-sentence-id="51953" class="ldml-sentence"&gt;Determining whether
 information was introduced from outside the record is
 straightforward when the juror conducts an independent
 investigation into either the facts or the law.&lt;/span&gt; &lt;span data-paragraph-id="51795" data-sentence-id="52133" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51953"&gt;&lt;span class="ldml-cite"&gt;id.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886962296" data-vids="886962296" class="ldml-reference" data-prop-ids="embeddedsentence_52168"&gt;&lt;span class="ldml-cite"&gt;471 P.3d at 1253&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;first citing
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892414049" data-vids="892414049" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Wadle&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;97 P.3d 932, 937&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; and
 then citing &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892748417" data-vids="892748417" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Wiser&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;732 P.2d at 1140&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="51795" data-sentence-id="52273" class="ldml-sentence"&gt;The question
 becomes much more difficult, however, when a juror instead
 relies on their prior knowledge and experience.&lt;/span&gt; &lt;span data-paragraph-id="51795" data-sentence-id="52395" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt;
&lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885896933" data-vids="885896933" class="ldml-reference" data-prop-ids="embeddedsentence_52427,sentence_52273"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Kendrick&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;252 P.3d at 1066&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"The line between a
 juror's application of her background . . . to the record
 evidence and a juror's introduction of legal content or
 specific factual information learned from outside the record
 can be a fine one."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_52648" data-val="37"&gt;&lt;/span&gt;
&lt;span data-paragraph-id="51795" data-sentence-id="52649" class="ldml-sentence"&gt;Still, jurors may properly &lt;span class="ldml-quotation quote"&gt;"rely on their professional
 and educational expertise to inform their deliberations so
 long as &lt;span class="ldml-entity"&gt;they&lt;/span&gt; do not bring in legal content or specific
 factual information learned from outside the record."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="51795" data-sentence-id="52875" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885896933" data-vids="885896933" class="ldml-reference" data-prop-ids="sentence_52649"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1065&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="52888" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="52888" data-sentence-id="52899" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52899"&gt;&lt;span class="ldml-cite"&gt;¶82&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885896933" data-vids="885896933" class="ldml-reference" data-prop-ids="sentence_52899"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Kendrick&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; held that &lt;span class="ldml-quotation quote"&gt;"the juror's use
 of her background in engineering and mathematics to calculate
 &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;]&lt;/span&gt;'s speed, distance, and reaction time and
 the sharing of those calculations with the other jurors did
 not constitute &lt;span class="ldml-quotation quote"&gt;'extraneous'&lt;/span&gt; information within the
 meaning of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="52888" data-sentence-id="53206" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885896933" data-vids="885896933" class="ldml-reference" data-prop-ids="sentence_52899"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 1066&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52888" data-sentence-id="53219" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;
 reasoned that, by performing and sharing those calculations,
 the juror &lt;span class="ldml-quotation quote"&gt;"did not introduce any specific facts or law
 relevant to &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; learned from outside of the judicial
 proceeding but, rather, merely applied her professional
 experience and preexisting knowledge of mathematics to the
 evidence admitted at trial."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="52888" data-sentence-id="53546" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885896933" data-vids="885896933" class="ldml-reference" data-prop-ids="sentence_53219"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="53550" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="53550" data-sentence-id="53561" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53561"&gt;&lt;span class="ldml-cite"&gt;¶83&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In sum, to be permissible, the experience used by the juror
 in deliberations must be part of the juror's background,
 &lt;span class="ldml-quotation quote"&gt;"gained before the juror was selected to participate in
 &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; and not as the result of independent investigation
 into a matter relevant to &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;"&lt;/span&gt; and, though the
 information may be relevant to the matter at hand, it must
 not include &lt;span class="ldml-quotation quote"&gt;"extra facts or law, not introduced at
 trial, that are specific to &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; or an issue in &lt;span class="ldml-entity"&gt;the
 case&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="53550" data-sentence-id="54031" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53561"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="54035" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="54035" data-sentence-id="54046" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54046"&gt;&lt;span class="ldml-cite"&gt;¶84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because the line between past experience and extraneous
 information is a fine one, the admonition that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"err
 in favor of the lesser of two evils—protecting the
 secrecy of jury deliberations at the expense of possibly
 allowing irresponsible

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_54299" data-val="38"&gt;&lt;/span&gt;
 juror activity"&lt;/span&gt;—is important.&lt;/span&gt; &lt;span data-paragraph-id="54035" data-sentence-id="54331" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889727479" data-vids="889727479" class="ldml-reference" data-prop-ids="sentence_54046"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Garcia v.
 People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;997 P.2d 1, 7&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2000&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893104459" data-vids="893104459" class="ldml-reference" data-prop-ids="sentence_54046"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;United
 States v. Thomas&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;116 F.3d 606, 623&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;2d Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1997&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="54035" data-sentence-id="54447" class="ldml-sentence"&gt;Permitting reliance on personal experience &lt;span class="ldml-quotation quote"&gt;"furthers the
 purposes of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; by promoting the finality of verdicts
 and protecting jurors from harassment."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="54035" data-sentence-id="54607" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885896933" data-vids="885896933" class="ldml-reference" data-prop-ids="sentence_54447"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Kendrick&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;252 P.3d at 1065&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-specifier="4" data-value="4.
 The Unnamed Juror's Statement Did Not Constitute
 Extraneous Prejudicial Information" data-parsed="true" data-id="heading_54635" data-ordinal_end="4" data-format="number" data-content-heading-label="
 4.
The Unnamed Juror's Statement Did Not Constitute
 Extraneous Prejudicial Information
" id="heading_54635" data-ordinal_start="4"&gt;&lt;span data-paragraph-id="54635" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="54635" data-sentence-id="54646" class="ldml-sentence"&gt;4.&lt;/span&gt;
&lt;span data-paragraph-id="54635" data-sentence-id="54649" class="ldml-sentence"&gt;The Unnamed Juror's Statement Did Not Constitute
 Extraneous Prejudicial Information&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="54734" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="54734" data-sentence-id="54745" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54745"&gt;&lt;span class="ldml-cite"&gt;¶85&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Here, the unnamed juror's statement during deliberations
 that, during a prior jury service, the judge told the jury
 that it must deliberate until &lt;span class="ldml-entity"&gt;they&lt;/span&gt; come to a unanimous
 decision did not constitute extraneous prejudicial
 information.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="54989" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="54989" data-sentence-id="55000" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55000"&gt;&lt;span class="ldml-cite"&gt;¶86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 First, the juror's statement was not &lt;span class="ldml-quotation quote"&gt;"legal
 content."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="54989" data-sentence-id="55060" class="ldml-sentence"&gt;The retelling of a prior jury experience, even
 the specific recollection of a judge's alleged statement
 about jury deliberations, is not a &lt;span class="ldml-quotation quote"&gt;"statement of
 law."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="54989" data-sentence-id="55222" class="ldml-sentence"&gt;Second, the fact that the juror's statement is
 based on prior experience and was not the result of
 independent investigation further compels &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to find that the
 statement was not extraneous.&lt;/span&gt; &lt;span data-paragraph-id="54989" data-sentence-id="55416" class="ldml-sentence"&gt;After all, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;s a
 practical matter, it is impossible to select a jury free of
 preconceived notions about the legal system or to prevent
 discussion of such information in the jury room."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="54989" data-sentence-id="55606" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895800772" data-vids="895800772" class="ldml-reference" data-prop-ids="sentence_55416"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Holt&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;266 P.3d 442, 446&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2011&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="55658" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="55658" data-sentence-id="55669" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55669"&gt;&lt;span class="ldml-cite"&gt;¶87&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Third, even if &lt;span class="ldml-entity"&gt;we&lt;/span&gt; concluded that the juror's statement
 was extraneous legal content, unlike in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871330" data-vids="888871330" class="ldml-reference" data-prop-ids="sentence_55669"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Niemand&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and
 &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892748417" data-vids="892748417" class="ldml-reference" data-prop-ids="sentence_55669"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Wiser&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, it was not relevant to the jury's
 decision.&lt;/span&gt; &lt;span data-paragraph-id="55658" data-sentence-id="55835" class="ldml-sentence"&gt;The statement did not concern any definition or
 element of the crimes with which

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_55919" data-val="39"&gt;&lt;/span&gt;
 Clark had been charged.&lt;/span&gt; &lt;span data-paragraph-id="55658" data-sentence-id="55945" class="ldml-sentence"&gt;But even beyond that, the statement
 did not relate to any other matter the jury was charged with
 deciding.&lt;/span&gt; &lt;span data-paragraph-id="55658" data-sentence-id="56054" class="ldml-sentence"&gt;How long the jury was required to deliberate did
 not have anything to do with whether &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; had met
 its burden of proof.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="56187" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="56187" data-sentence-id="56198" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56198"&gt;&lt;span class="ldml-cite"&gt;¶88&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Therefore, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; correctly determined that the
 statement described in Juror LL's affidavit did not
 constitute &lt;span class="ldml-quotation quote"&gt;"extraneous prejudicial information"&lt;/span&gt;
 under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-id="heading_56381" data-value="III.
 Conclusion" data-types="conclusion" data-confidences="very_high" data-parsed="true" data-ordinal_end="3" data-specifier="III" data-format="upper_case_roman_numeral" data-content-heading-label="
 III.
Conclusion
" id="heading_56381" data-ordinal_start="3"&gt;&lt;span data-paragraph-id="56381" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="56381" data-sentence-id="56392" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="56381" data-sentence-id="56397" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="56408" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="56408" data-sentence-id="56419" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56419"&gt;&lt;span class="ldml-cite"&gt;¶89&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that the erroneous denial of a for-cause
 challenge to a juror who evinces racial bias against &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt; is not structural error where the error was made in
 good faith and the biased juror did not actually participate
 in the jury.&lt;/span&gt; &lt;span data-paragraph-id="56408" data-sentence-id="56673" class="ldml-sentence"&gt;In addition, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that a juror's
 statement during deliberations recalling a judge's
 alleged comment during her prior jury service was not
 extraneous prejudicial information under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="56408" data-sentence-id="56874" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm the judgment of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_56935" data-val="40"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="56935" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="56935" data-sentence-id="56948" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;HOOD&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;joined by JUSTICE &lt;span class="ldml-entity"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt;, dissenting.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="57001" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="57001" data-sentence-id="57012" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_57012"&gt;&lt;span class="ldml-cite"&gt;¶90&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 This is a difficult and troubling case &lt;span class="ldml-parenthetical"&gt;(at many levels)&lt;/span&gt; in
 which the division below and the majority here claim, in so
 many words, that obedience to doctrine forces &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to swallow a
 bitter procedural pill.&lt;/span&gt; &lt;span data-paragraph-id="57001" data-sentence-id="57225" class="ldml-sentence"&gt;Despite declaring that racial bias is
 detestable in any context, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the majority,
 no doubt reluctantly, leaves unremedied &lt;span class="ldml-entity"&gt;the district
 court&lt;/span&gt;'s failure to denounce racial bias during jury
 selection.&lt;/span&gt; &lt;span data-paragraph-id="57001" data-sentence-id="57438" class="ldml-sentence"&gt;Instead, it essentially says that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have little
 choice but to throw up our hands and concede, &lt;span class="ldml-quotation quote"&gt;"no harm,
 no foul."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="57555" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="57555" data-sentence-id="57566" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_57566"&gt;&lt;span class="ldml-cite"&gt;¶91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 But &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s error in excusing overt,
 in-&lt;span class="ldml-entity"&gt;court&lt;/span&gt; racism&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN5" class="ldml-noteanchor" id="note-ref-ftn.FN5"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; as nothing more than legitimate political
 opinion, produced at least two harms, both of which are
 difficult to quantify but unmistakably real.&lt;/span&gt; &lt;span data-paragraph-id="57555" data-sentence-id="57785" class="ldml-sentence"&gt;First, a
 criminal &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; like &lt;span class="ldml-entity"&gt;Reginald Keith Clark&lt;/span&gt;—to whom
 our state and federal constitutions pledge rights to equal
 protection and a fair trial—suffered the risk that some
 remaining venire members were emboldened to act on similar
 but unvoiced biases.&lt;/span&gt; &lt;span data-paragraph-id="57555" data-sentence-id="58047" class="ldml-sentence"&gt;Second, and no less important, the whole
 unseemly exercise leaves our system of criminal justice
 diminished in the eyes of the public.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_58184" data-val="41"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="58184" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="58184" data-sentence-id="58195" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58195"&gt;&lt;span class="ldml-cite"&gt;¶92&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Even so, the majority concludes that &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58195" data-refglobal="case:peoplevnovotny,2014co18,320p3d1194,2014wl1045961"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Novotny&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2014 CO 18&lt;/span&gt;, &lt;span class="ldml-cite"&gt;320 P.3d 1194&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, contemplates only
 two kinds of structural error arising from an erroneous
 denial of a for-cause challenge &lt;span class="ldml-parenthetical"&gt;(i.e., the explicitly biased
 juror sat or &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; acted in bad faith)&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Maj. op.
 ¶¶ 40-41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; equal protection principles are
 relevant to our structural error analysis in this context
 only when the record reflects intentional discrimination by
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58195"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 48-55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58184" data-sentence-id="58679" class="ldml-sentence"&gt;But because I
 believe fidelity to precedent doesn't leave &lt;span class="ldml-entity"&gt;us&lt;/span&gt; powerless
 to address the harm inflicted here, I respectfully dissent.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="I" data-value="I.
 Structural Error" data-parsed="true" data-id="heading_58812" data-ordinal_end="1" data-format="upper_case_roman_numeral" data-content-heading-label="
 I.
Structural Error
" id="heading_58812" data-ordinal_start="1"&gt;&lt;span data-paragraph-id="58812" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="58812" data-sentence-id="58823" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="58812" data-sentence-id="58826" class="ldml-sentence"&gt;Structural Error&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="58843" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="58843" data-sentence-id="58854" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58854"&gt;&lt;span class="ldml-cite"&gt;¶93&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Our basic legal yardstick is straightforward.&lt;/span&gt; &lt;span data-paragraph-id="58843" data-sentence-id="58905" class="ldml-sentence"&gt;Structural
 errors &lt;span class="ldml-quotation quote"&gt;"defy analysis by &lt;span class="ldml-quotation quote"&gt;'harmless-error'&lt;/span&gt;
 standards."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="58843" data-sentence-id="58972" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/884588654" data-vids="884588654" class="ldml-reference" data-prop-ids="sentence_58905"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Arizona v. Fulminante&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;499 U.S.
 279, 309&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="58843" data-sentence-id="59022" class="ldml-sentence"&gt;There are &lt;span class="ldml-quotation quote"&gt;"at least three broad
 rationales"&lt;/span&gt; for &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he precise reason why a
 particular error is not amenable to &lt;span class="ldml-parenthetical"&gt;[harmless-error]&lt;/span&gt;
 analysis—and thus the precise reason why &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; has
 deemed it structural,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887604229" data-vids="887604229" class="ldml-reference" data-prop-ids="sentence_59022"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Weaver v. Massachusetts&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;582 U.S. 286, 295&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2017&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;:&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_59285" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="59286" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[1]&lt;/span&gt; errors concerning rights protecting some interest other
 than &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s interest in not being erroneously
 convicted; &lt;span class="ldml-parenthetical"&gt;[2]&lt;/span&gt; errors the effects of which are too hard to
 measure, in the sense of being necessarily unquantifiable and
 indeterminate; and &lt;span class="ldml-parenthetical"&gt;[3]&lt;/span&gt; errors that can be said to always
 result in fundamental unfairness,&lt;/span&gt;
&lt;/blockquote&gt;&lt;p data-paragraph-id="59618" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="59618" data-sentence-id="59619" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888126579" data-vids="888126579" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Howard-Walker v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2019 CO 69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888126579" data-vids="888126579" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;443
 P.3d 1007, 1011&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890954897" data-vids="890954897" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;James v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2018 CO
 72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:426p3d336,339"&gt;&lt;span class="ldml-cite"&gt;426 P.3d 336, 339&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_59748" data-val="42"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="59748" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="59748" data-sentence-id="59759" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59759"&gt;&lt;span class="ldml-cite"&gt;¶94&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Denying &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;'s for-cause challenge of a potential
 juror who expressed racial bias implicates the first two of
 these rationales.&lt;/span&gt; &lt;span data-paragraph-id="59748" data-sentence-id="59897" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887604229" data-vids="887604229" class="ldml-reference" data-prop-ids="sentence_59759"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Weaver&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;582 U.S. at 296&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[M]&lt;/span&gt;ore than one of these rationales may be part of the
 explanation for why an error is deemed to be
 structural."&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="59748" data-sentence-id="60044" class="ldml-sentence"&gt;As noted, this error harms &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;
 albeit in ways hard to measure.&lt;/span&gt; &lt;span data-paragraph-id="59748" data-sentence-id="60118" class="ldml-sentence"&gt;And the error implicates a
 public interest that extends beyond &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s
 interest in not being erroneously convicted.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="II" data-value="II.
 The Harm to Clark" data-parsed="true" data-id="heading_60242" data-ordinal_end="2" data-format="upper_case_roman_numeral" data-content-heading-label="
 II.
The Harm to Clark
" id="heading_60242" data-ordinal_start="2"&gt;&lt;span data-paragraph-id="60242" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="60242" data-sentence-id="60253" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="60242" data-sentence-id="60257" class="ldml-sentence"&gt;The Harm to Clark&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="60275" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="60275" data-sentence-id="60286" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60286"&gt;&lt;span class="ldml-cite"&gt;¶95&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Let's start with the harm to Clark.&lt;/span&gt; &lt;span data-paragraph-id="60275" data-sentence-id="60327" class="ldml-sentence"&gt;Over thirty years
 ago, &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; warned that the presence of racial
 discrimination during voir dire is &lt;span class="ldml-quotation quote"&gt;"often apparent to
 the entire jury &lt;span class="ldml-entity"&gt;panel&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;[and]&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;casts doubt over the
 obligation&lt;/em&gt; of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;the jury&lt;/em&gt;, and indeed
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to adhere to the law."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="60275" data-sentence-id="60593" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871362" data-vids="888871362" class="ldml-reference" data-prop-ids="sentence_60327"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Powers v.
 Ohio&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;499 U.S. 400, 412&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphases added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="60275" data-sentence-id="60653" class="ldml-sentence"&gt;By
 failing to release Juror K after &lt;span class="ldml-entity"&gt;he&lt;/span&gt; expressed racial bias,
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; tacitly allowed the remaining venire members to
 cling to similar prejudices while deciding Clark's fate.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="60833" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="60833" data-sentence-id="60844" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60844"&gt;&lt;span class="ldml-cite"&gt;¶96&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 As &lt;span class="ldml-entity"&gt;Judge &lt;span class="ldml-entity"&gt;Schutz&lt;/span&gt;&lt;/span&gt; explained in his separate opinion below: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The
 district court&lt;/span&gt;'s decision&lt;/span&gt; broadcasted to all who remained
 &lt;span class="ldml-quotation quote"&gt;"that a prospective juror could sit in judgment of a
 person against whom &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had an acknowledged racial bias."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="60833" data-sentence-id="61081" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_60844"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Clark&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2022 COA 33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60844"&gt;&lt;span class="ldml-cite"&gt;¶ 98&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;512 P.3d
 1074, 1091&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Schutz, J., concurring in part and dissenting in
 part)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="60833" data-sentence-id="61196" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; placed an aura of legitimacy around
 Juror K's racial bias by failing to condemn it, and in
 turn, introduced the risk that

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_61341" data-val="43"&gt;&lt;/span&gt;
 sitting jurors may have felt comfortable—or worse,
 empowered—to make judgments rooted in bias against the
 only &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[B]&lt;/span&gt;lack gentleman"&lt;/span&gt; in the room—Clark.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="61495" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="61495" data-sentence-id="61506" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61506"&gt;&lt;span class="ldml-cite"&gt;¶97&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The majority dismisses this reality by claiming that
 &lt;span class="ldml-quotation quote"&gt;"there is no evidence that the jury was aware of the
 challenge, let alone &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s ruling&lt;/span&gt; or its
 reasoning."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="61495" data-sentence-id="61679" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61506"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="61495" data-sentence-id="61694" class="ldml-sentence"&gt;This argument suffers
 from a false premise: namely, that jurors lack the capacity
 to understand what is unfolding around them during our &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 proceedings.&lt;/span&gt; &lt;span data-paragraph-id="61495" data-sentence-id="61853" class="ldml-sentence"&gt;In my experience, however, jurors aren't as
 naive as my colleagues in the majority suggest.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="61946" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="61946" data-sentence-id="61957" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61957"&gt;&lt;span class="ldml-cite"&gt;¶98&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On the contrary, there are at least three reasons why the
 prospective jurors here undoubtedly understood &lt;span class="ldml-entity"&gt;the district
 court&lt;/span&gt; to affirm Juror K's ability to serve despite his
 racial bias.&lt;/span&gt; &lt;span data-paragraph-id="61946" data-sentence-id="62151" class="ldml-sentence"&gt;First, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; had already explained to
 prospective jurors the mechanics of the for-cause-dismissal
 stage of voir dire, so everyone knew that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; was
 determining whether prospective jurors were eligible to
 serve.&lt;/span&gt; &lt;span data-paragraph-id="61946" data-sentence-id="62376" class="ldml-sentence"&gt;Second, the prospective jurors had witnessed &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 remove a juror whose impartiality it had found wanting.&lt;/span&gt; &lt;span data-paragraph-id="61946" data-sentence-id="62488" class="ldml-sentence"&gt;And
 third, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; asked Juror K follow-up
 questions—something it had only done when a prospective
 juror's answers gave it some pause—before
 confirming that Juror K could serve.&lt;/span&gt; &lt;span data-paragraph-id="61946" data-sentence-id="62681" class="ldml-sentence"&gt;It's of no moment
 that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s justification was given out of earshot
 of the prospective jurors.&lt;/span&gt; &lt;span data-paragraph-id="61946" data-sentence-id="62784" class="ldml-sentence"&gt;The ruling itself was clear: Even
 after expressing racial bias, Juror K was fit to serve.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_62875" data-val="44"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="62875" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="62875" data-sentence-id="62886" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62886"&gt;&lt;span class="ldml-cite"&gt;¶99&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The majority is equally wrong that &lt;span class="ldml-quotation quote"&gt;"the only events the
 jurors witnessed were Juror K's comments during voir dire
 and Juror K's subsequent dismissal,"&lt;/span&gt; which
 would've left them with the impression that &lt;span class="ldml-quotation quote"&gt;"bias
 result&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; in dismissal."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="62875" data-sentence-id="63127" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62886"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="62875" data-sentence-id="63131" class="ldml-sentence"&gt;Again, jurors are
 sharper than that.&lt;/span&gt; &lt;span data-paragraph-id="62875" data-sentence-id="63169" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; explained that the
 peremptory-challenge phase of voir dire was distinct from the
 for-cause stage.&lt;/span&gt; &lt;span data-paragraph-id="62875" data-sentence-id="63279" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also emphasized that peremptory
 challenges don't require a reason and were attributable
 to the attorneys—not &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;—so prospective
 jurors shouldn't &lt;span class="ldml-quotation quote"&gt;"take any offense"&lt;/span&gt; at removal.&lt;/span&gt;
&lt;span data-paragraph-id="62875" data-sentence-id="63474" class="ldml-sentence"&gt;The majority glosses over &lt;span class="ldml-entity"&gt;these facts&lt;/span&gt;, perhaps because &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
 establish that no reasonable juror would have equated the
 defense's use of a peremptory strike with state
 condemnation of Juror K's racial bias.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="63682" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="63682" data-sentence-id="63693" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_63693"&gt;&lt;span class="ldml-cite"&gt;¶100&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt;'s error thus goes to the very
 foundation of our criminal justice system—the
 impartiality of the criminal jury, the body responsible for
 determining &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s innocence or guilt.&lt;/span&gt; &lt;span data-paragraph-id="63682" data-sentence-id="63902" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"When
 constitutional error calls into question the objectivity of
 those charged with bringing &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; to judgment, a
 reviewing &lt;span class="ldml-entity"&gt;court&lt;/span&gt; can neither indulge a presumption of
 regularity nor evaluate the resulting harm."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="63682" data-sentence-id="64125" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886196241" data-vids="886196241" class="ldml-reference" data-prop-ids="sentence_63902"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vasquez
 v. Hillery&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;474 U.S. 254, 263&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="63682" data-sentence-id="64172" class="ldml-sentence"&gt;Because these
 errors threaten the &lt;span class="ldml-quotation quote"&gt;"right to an impartial adjudicator,
 be it judge or jury,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;they&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-quotation quote"&gt;'can never be
 treated as harmless.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="63682" data-sentence-id="64310" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/884671537" data-vids="884671537" class="ldml-reference" data-prop-ids="sentence_64172"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Gray v. Mississippi&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;481 U.S. 648, 668&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64172" data-refglobal="case:chapmanvcalifornia,386us18,24,87sct824,17led2d705,87sct824,17led2d70587sct824,17led2d705"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Chapman v.
 California&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;386 U.S. 18, 23&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1967&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;accord&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference" data-prop-ids="sentence_64172"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People
 v. Abu-Nantambu-El&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2019 CO 106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64172"&gt;&lt;span class="ldml-cite"&gt;¶ 27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;454 P.3d
 1044, 1050&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_64491" data-val="45"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="64491" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="64491" data-sentence-id="64502" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64502"&gt;&lt;span class="ldml-cite"&gt;¶101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Here, any bias Juror K introduced into the proceeding during
 voir dire lingered in the background of the entire trial.&lt;/span&gt;
&lt;span data-paragraph-id="64491" data-sentence-id="64628" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888871362" data-vids="888871362" class="ldml-reference" data-prop-ids="embeddedsentence_64657,sentence_64502"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Powers&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;499 U.S. at 412&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"The influence of
 the &lt;em class="ldml-emphasis"&gt;voir dire&lt;/em&gt; process may persist through the whole
 course of the trial proceedings."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="64491" data-sentence-id="64765" class="ldml-sentence"&gt;To what effect, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 don't know exactly.&lt;/span&gt; &lt;span data-paragraph-id="64491" data-sentence-id="64805" class="ldml-sentence"&gt;But that doesn't mean &lt;span class="ldml-entity"&gt;we&lt;/span&gt; should
 ignore the possibility that the error tainted the remaining
 venire.&lt;/span&gt; &lt;span data-paragraph-id="64491" data-sentence-id="64907" class="ldml-sentence"&gt;This difficulty is precisely why the error is
 structural: &lt;span class="ldml-quotation quote"&gt;"the effects of the error are simply too
 hard to measure."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="64491" data-sentence-id="65026" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887604229" data-vids="887604229" class="ldml-reference" data-prop-ids="sentence_64907"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Weaver&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;582 U.S. at 295&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="64491" data-sentence-id="65051" class="ldml-sentence"&gt;Indeed, it is &lt;span class="ldml-quotation quote"&gt;"because a review of the record could not
 reveal the impact of the defect"&lt;/span&gt; that the error is
 structural.&lt;/span&gt; &lt;span data-paragraph-id="64491" data-sentence-id="65172" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/884784052" data-vids="884784052" class="ldml-reference" data-prop-ids="sentence_65051"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;United States v. Iribe-Perez&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;129 F.3d
 1167, 1172&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;1997&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886196241" data-vids="886196241" class="ldml-reference" data-prop-ids="embeddedsentence_65280,sentence_65051"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Vasquez&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;474
 U.S. at 263-64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that discrimination in the grand
 jury selection was &lt;span class="ldml-quotation quote"&gt;"not amenable to harmless-error
 review"&lt;/span&gt; because of &lt;span class="ldml-quotation quote"&gt;"the difficulty of assessing
 &lt;span class="ldml-parenthetical"&gt;[the]&lt;/span&gt; effect on any given &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="65465" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="65465" data-sentence-id="65476" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_65476"&gt;&lt;span class="ldml-cite"&gt;¶102&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt;'s error in refusing to excuse Juror K
 when Clark challenged him for cause jeopardized Clark's
 right to a fair trial by giving judicial approval to Juror
 K's racial bias in front of the remaining venire members:
 &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt; &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt; has the right to an impartial jury that
 can view him without racial animus, which so long has
 distorted our system of criminal justice."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="65465" data-sentence-id="65869" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="sentence_65476"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Georgia
 v. McCollum&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;505 U.S. 42, 58&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="65465" data-sentence-id="65915" class="ldml-sentence"&gt;Because that
 constitutional right is of paramount importance and because
 the effect of &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s error evades an
 outcome determinative analysis, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s
 error was structural.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_66118" data-val="46"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="III" data-value="III.
 The Harm to the Integrity of the Justice System" data-parsed="true" data-id="heading_66118" data-ordinal_end="3" data-format="upper_case_roman_numeral" data-content-heading-label="
 III.
The Harm to the Integrity of the Justice System
" id="heading_66118" data-ordinal_start="3"&gt;&lt;span data-paragraph-id="66118" class="ldml-paragraph "&gt;
 &lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="66118" data-sentence-id="66129" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="66118" data-sentence-id="66134" class="ldml-sentence"&gt;The Harm to the Integrity of the Justice System&lt;/span&gt;&lt;/b&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="66182" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="66182" data-sentence-id="66193" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66193"&gt;&lt;span class="ldml-cite"&gt;¶103&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The error was also structural because it impugned the
 integrity of the justice system.&lt;/span&gt; &lt;span data-paragraph-id="66182" data-sentence-id="66287" class="ldml-sentence"&gt;Racial bias is &lt;span class="ldml-quotation quote"&gt;"a
 familiar and recurring evil that, if left unaddressed, would
 risk systemic injury to the administration of justice."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="66182" data-sentence-id="66424" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66287" data-refglobal="case:peña-rodriguezvcolorado,580us206,235,137sct855,197led2d1072017alito,j,dissenting"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Pena-Rodriguez v. Colorado&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;580 U.S. 206, 224&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2017&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="66478" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="66478" data-sentence-id="66489" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66489"&gt;&lt;span class="ldml-cite"&gt;¶104&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;I&lt;/span&gt; agree with Judge &lt;span class="ldml-entity"&gt;Schutz&lt;/span&gt;&lt;/span&gt; that what occurred during voir dire
 offends Clark's equal protection right to be free from
 state-approved racial discrimination.&lt;/span&gt; &lt;span data-paragraph-id="66478" data-sentence-id="66651" class="ldml-sentence"&gt;&lt;em class="ldml-emphasis"&gt;See Clark&lt;/em&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66651"&gt;&lt;span class="ldml-cite"&gt;¶¶ 93-96&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, 102, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_66651"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at 1090-91, 1092&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Schutz,
 J., concurring in part and dissenting in part)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66478" data-sentence-id="66762" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"By its
 inaction,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"made itself &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;
 to"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"place&lt;span class="ldml-parenthetical"&gt;[d]&lt;/span&gt; its power, property&lt;span class="ldml-parenthetical"&gt;[,]&lt;/span&gt; and
 prestige behind"&lt;/span&gt; Juror K's racial bias.&lt;/span&gt; &lt;span data-paragraph-id="66478" data-sentence-id="66909" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891658176" data-vids="891658176" class="ldml-reference" data-prop-ids="sentence_66762"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Burton
 v. Wilmington Parking Auth.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;365 U.S. 715, 725&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1961&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="66478" data-sentence-id="66972" class="ldml-sentence"&gt;Time and again &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; has acknowledged that
 similar inaction &lt;span class="ldml-quotation quote"&gt;"undermine&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; public confidence in the
 fairness of our system of justice."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="66478" data-sentence-id="67121" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887473648" data-vids="887473648" class="ldml-reference" data-prop-ids="sentence_66972"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Rivera v.
 Illinois&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;556 U.S. 148, 161&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2009&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;alteration in
 original&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885224377" data-vids="885224377" class="ldml-reference" data-prop-ids="sentence_66972"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Batson v. Kentucky&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;476 U.S. 79,
 87&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1986&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;accord&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66972" data-refglobal="case:peña-rodriguezvcolorado,580us206,235,137sct855,197led2d1072017alito,j,dissenting"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Pena-Rodriguez&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;580 U.S. at 225&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="sentence_66972"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;McCollum&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;505 U.S. at 49-50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/897016516" data-vids="897016516" class="ldml-reference" data-prop-ids="sentence_66972"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Ojeda&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2022 CO 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66972"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/907372681" data-vids="907372681" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;503 P.3d 856, 861-62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66478" data-sentence-id="67374" class="ldml-sentence"&gt;For
 that reason, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[n]&lt;/span&gt;o surer way could be devised to bring
 the processes of justice into disrepute"&lt;/span&gt; than &lt;span class="ldml-quotation quote"&gt;"to
 permit it to be &lt;em class="ldml-emphasis"&gt;thought&lt;/em&gt; that persons entertaining a
 disqualifying prejudice were allowed to serve as
 jurors."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="66478" data-sentence-id="67598" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895362750" data-vids="895362750" class="ldml-reference" data-prop-ids="sentence_67374"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Aldridge v. United States&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;283 U.S.
 308, 315&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1931&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="66478" data-sentence-id="67669" class="ldml-sentence"&gt;Yet that is the message &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt;'s error sends.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_67728" data-val="47"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="67728" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="67728" data-sentence-id="67739" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67739"&gt;&lt;span class="ldml-cite"&gt;¶105&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 This is an affront to basic equal protection principles and
 does great harm to the public's perception of the justice
 system.&lt;/span&gt; &lt;span data-paragraph-id="67728" data-sentence-id="67873" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_67932,sentence_67739" data-refglobal="case:mistrettavunitedstates,488us361,364,390-91,396,109sct647,650,664,667,102led2d714,725-26,742-43,745-461989"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Mistretta v. United States&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;488 U.S.
 361, 407&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"The legitimacy of the Judicial Branch
 ultimately depends on its reputation for impartiality and
 nonpartisanship."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885010648" data-vids="885010648" class="ldml-reference" data-prop-ids="sentence_67739"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;McCollum&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;505 U.S. at 49-50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he very foundation of our system of justice &lt;span class="ldml-parenthetical"&gt;[is]&lt;/span&gt;
 our citizens' confidence in it."&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="68169" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="68169" data-sentence-id="68180" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68180"&gt;&lt;span class="ldml-cite"&gt;¶106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The majority concludes that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s error
 wasn't structural because the error wasn't
 constitutional.&lt;/span&gt; &lt;span data-paragraph-id="68169" data-sentence-id="68302" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68180"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="68169" data-sentence-id="68317" class="ldml-sentence"&gt;To the contrary, the
 underlying error in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; violated Clark's &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68317"&gt;&lt;span class="ldml-cite"&gt;Sixth
 Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; right to an impartial jury.&lt;/span&gt; &lt;span data-paragraph-id="68169" data-sentence-id="68431" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[I]&lt;/span&gt;f &lt;span class="ldml-entity"&gt;a trial
 court&lt;/span&gt; error results in the seating of a juror who is actually
 biased against &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s right to an
 impartial jury is violated, the error is structural, and
 reversal is required&lt;em class="ldml-emphasis"&gt;.&lt;/em&gt;"&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="68169" data-sentence-id="68649" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference" data-prop-ids="sentence_68431"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Abu-Nantambu-El&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68431"&gt;&lt;span class="ldml-cite"&gt;¶ 30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895611955" data-vids="895611955" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;454 P.3d at 1050&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="68169" data-sentence-id="68690" class="ldml-sentence"&gt;There
 is no &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68690"&gt;&lt;span class="ldml-cite"&gt;Sixth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violation&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"so long as the jury
 that sits is impartial."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="68169" data-sentence-id="68776" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893108760" data-vids="893108760" class="ldml-reference" data-prop-ids="sentence_68690"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;United States v.
 Martinez-Salazar&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;528 U.S. 304, 305&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2000&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886236692" data-vids="886236692" class="ldml-reference" data-prop-ids="sentence_68690"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Ross v. Oklahoma&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;487 U.S. 81, 88&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1988&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="68169" data-sentence-id="68889" class="ldml-sentence"&gt;But I
 cannot say as much on &lt;span class="ldml-entity"&gt;these facts&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="68169" data-sentence-id="68931" class="ldml-sentence"&gt;Here, &lt;span class="ldml-entity"&gt;the district
 court&lt;/span&gt;'s error invited similarly biased jurors to sit on
 Clark's jury.&lt;/span&gt; &lt;span data-paragraph-id="68169" data-sentence-id="69022" class="ldml-sentence"&gt;Thus, even without a formal equal
 protection violation, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; is still confronted with a
 constitutional error.&lt;/span&gt; &lt;span data-paragraph-id="68169" data-sentence-id="69139" class="ldml-sentence"&gt;And from there, the nub of the issue is
 simply whether the effects of that error &lt;span class="ldml-quotation quote"&gt;"defy analysis
 by &lt;span class="ldml-quotation quote"&gt;'harmless-error'&lt;/span&gt; standards."&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="68169" data-sentence-id="69269" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/884588654" data-vids="884588654" class="ldml-reference" data-prop-ids="sentence_69139"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Fulminante&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;499 U.S. at 309&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_69298" data-val="48"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="69298" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="69298" data-sentence-id="69311" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69311"&gt;&lt;span class="ldml-cite"&gt;¶107&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As discussed above, the error here fits that &lt;span class="ldml-entity"&gt;bill&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="69298" data-sentence-id="69367" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt;'s error produced harms that &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; cannot
 be measured and thus defy an outcomedeterminative analysis
 and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; concern interests other than &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s
 right to a sound verdict; namely, protection of the
 public's faith in the judiciary.&lt;/span&gt; &lt;span data-paragraph-id="69298" data-sentence-id="69626" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt;'s error is structural and, in my opinion,
 entitles Clark to a new trial.&lt;/span&gt; &lt;span data-paragraph-id="69298" data-sentence-id="69733" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69626" data-refglobal="case:peoplevmadrid,2023co12"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Madrid&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;2023 CO 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69626"&gt;&lt;span class="ldml-cite"&gt;¶ 60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/935266659" data-vids="935266659" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;526 P.3d 185, 198&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="69298" data-sentence-id="69793" class="ldml-sentence"&gt;Thus, I
 respectfully dissent.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="69824" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="69824" data-sentence-id="69825" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="69835" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="69835" data-sentence-id="69836" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN1" class="ldml-notemarker" id="note-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; As of the &lt;span class="ldml-entity"&gt;2020&lt;/span&gt; Census, 5,077—or
 about 87.41%—of &lt;span class="ldml-entity"&gt;Gilpin County&lt;/span&gt;'s 5,808 residents
 were &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;hite alone."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="69835" data-sentence-id="69943" class="ldml-sentence"&gt;U.S. Census Bureau, &lt;em class="ldml-emphasis"&gt;Race
 and Ethnicity: &lt;span class="ldml-entity"&gt;Gilpin County&lt;/span&gt;, Colorado&lt;/em&gt;,
 https://data.census.gov/profile/Gilpin_County,_Colorado?g=050XX00US08047#race-and-ethnicity
 &lt;span class="ldml-parenthetical"&gt;[https:// perma.cc/XA8B-MRQU]&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="70134" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="70134" data-sentence-id="70135" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN2" class="ldml-notemarker" id="note-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; granted certiorari to review the
 following issues:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_70193" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="70194" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-sentence-id="70197" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[REFRAMED]&lt;/span&gt; Whether &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s erroneous
 denial of &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt;'s for-cause challenge to a juror
 who expressed racial bias was harmless or structural
 error.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_70362" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="70363" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-sentence-id="70366" class="ldml-sentence"&gt;Whether a juror's comments during
 deliberations, that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; learned from a judge in prior jury
 service that jurors must deliberate indefinitely until a
 unanimous verdict is reached, constitute &lt;span class="ldml-quotation quote"&gt;"extraneous
 prejudicial information"&lt;/span&gt; under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;CRE 606&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="70616" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="70616" data-sentence-id="70617" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN3" class="ldml-notemarker" id="note-ftn.FN3"&gt;3&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Because the courtroom where voir dire
 was held was not equipped to record bench conferences, the
 record of the conversation &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; had with the judge
 during the bench conference was made by the judge after the
 fact.&lt;/span&gt; &lt;span data-paragraph-id="70616" data-sentence-id="70845" class="ldml-sentence"&gt;After &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; had finished exercising their
 peremptory challenges, the bailiff took the jurors to the
 jury room and the judge summarized for the record &lt;span class="ldml-entity"&gt;the
 parties&lt;/span&gt;' for-cause challenges and the judge's rulings
 on them.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="71072" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="71072" data-sentence-id="71073" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN4" class="ldml-notemarker" id="note-ftn.FN4"&gt;4&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would have reversed
 Clark's conviction based on his resolution of the
 challenge-for-cause issue, Judge Schutz declined to address
 the remaining issues.&lt;/span&gt; &lt;span data-paragraph-id="71072" data-sentence-id="71242" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71242"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71242"&gt;&lt;span class="ldml-cite"&gt;¶ 106&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_71242"&gt;&lt;span class="ldml-cite"&gt;512 P.3d at
 1092&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Schutz, J., concurring in part and dissenting in
 part)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="71332" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="71332" data-sentence-id="71333" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN5" class="ldml-notemarker" id="note-ftn.FN5"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree with the division majority
 that there was a &lt;span class="ldml-quotation quote"&gt;"glaring implication"&lt;/span&gt; that Juror K
 harbored an &lt;span class="ldml-quotation quote"&gt;"acknowledged bias against nonwhite &lt;span class="ldml-entity"&gt;people&lt;/span&gt;
 like &lt;span class="ldml-entity"&gt;defendant&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="71332" data-sentence-id="71499" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference" data-prop-ids="sentence_71333"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Clark&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2022 COA 33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71333"&gt;&lt;span class="ldml-cite"&gt;¶ 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/899350777" data-vids="899350777" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;512 P.3d 1074, 1078&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="71332" data-sentence-id="71557" class="ldml-sentence"&gt;This inference now seems
 undisputed.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;p data-paragraph-id="71595" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="71595" data-sentence-id="71596" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;